Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 1 of 83 PageID #: 533




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

  STATE OF MISSOURI,
  STATE OF NEBRASKA,
  STATE OF ARKANSAS,
  STATE OF KANSAS,
  STATE OF IOWA,
  STATE OF WYOMING,
  STATE OF ALASKA,
  STATE OF SOUTH DAKOTA,
  STATE OF NORTH DAKOTA, and                     No. 4:21-cv-01329-MTS
  STATE OF NEW HAMPSHIRE,

                  Plaintiffs,

     v.

  JOSEPH R. BIDEN, JR.,
  in his official capacity as the President of
  the United States of America;
  THE UNITED STATES OF AMERICA;
  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES;
  XAVIER BECERRA in his official
  capacity as Secretary of the United States
  Department of Health and Human Services;
  CENTERS FOR MEDICARE AND
  MEDICAID SERVICES;
  CHIQUITA BROOKS-LASURE in her
  official capacity as Administrator for the
  Centers for Medicare and Medicaid
  Services;
  MEENA SESHAMANI in her official
  capacity as Deputy Administrator and
  Director of Center for Medicare;
  DANIEL TSAI in his official capacity as
  Deputy Administrator and Director of
  Center for Medicaid and CHIP Services;

                  Defendants.
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 2 of 83 PageID #: 534




                              FIRST AMENDED COMPLAINT

   1. Plaintiffs, the States of Missouri, Nebraska, Arkansas, Kansas, Iowa, Wyoming, Alaska,

South Dakota, North Dakota, and New Hampshire, bring this action to challenge the Centers for

Medicare and Medicaid Services’ (“CMS”) Interim Final Rule with Comment Period (“IFC”)

entitled “Medicare and Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination.”

86 Fed. Reg. 61,555 (Nov. 5, 2021). That IFC, also referred to as the “CMS vaccine mandate,”

imposes an unprecedented federal vaccine mandate on nearly every full-time employee, part-time

employee, volunteer, and contractor working at a wide range of healthcare facilities receiving

Medicaid or Medicaid funding.

   2. The CMS vaccine mandate threatens with job loss millions of healthcare workers who

risked their lives in the early days of the COVID-19 pandemic to care for strangers and friends in

their communities. The Plaintiff States seek to end this dragooning of our States’ healthcare

heroes.

   3. Critically, the CMS vaccine mandate also threatens to exacerbate an alarming shortage of

healthcare workers, particularly in rural communities, that has already reached a boiling point.

Indeed, the circumstances in the Plaintiff States—facts that CMS, which skipped notice-and-

comment rulemaking, did not fully consider—foreshadow an impending disaster in the healthcare

industry. By ignoring the facts on the ground and unreasonably dismissing concerns about

workforce shortages, the CMS vaccine mandate jeopardizes the healthcare interests of rural

Americans.

   4. This case illustrates why the police power over compulsory vaccination has always been

the province of—and still properly belongs to—the States. Vaccination requirements are matters


                                                2
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 3 of 83 PageID #: 535




that depends on local factors and conditions. Whatever might make sense in New York City, St.

Louis, or Omaha could be decidedly counterproductive and harmful in rural communities like

Memphis, Missouri or McCook, Nebraska. Federalism allows States to tailor such matters in the

best interests of their communities. The heavy hand of CMS’s nationwide mandate does not.

   5. One of the mandate’s most fundamental defects is its failure to account for the only well-

established features of the COVID-19 pandemic: that change is inevitable, circumstances are

constantly shifting, and variants are ever evolving. Despite acknowledging that new variants might

arise and that the available COVID-19 vaccines might not be effective at preventing the

transmission of those new variants, CMS created a rigid, Delta-inspired rule that has no place—

and indeed is utterly irrational—in the Omicron-dominated world we now inhabit.

   6. Plaintiffs intend this amended complaint to add to, rather than supplant, the allegations in

their original complaint. Thus, Plaintiffs not only plead new allegations in this complaint, but also

reassert the allegations in their original complaint.

   7. For all the reasons explained in this amended complaint, this Court should set aside the

CMS mandate as unlawful agency action under the Administrative Procedure Act (“APA”), 5

U.S.C. §§ 701–706.

                                             PARTIES

   8. Plaintiff State of Missouri is a sovereign State of the United States of America. Missouri

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   9.   Eric S. Schmitt is the 43rd Attorney General of the State of Missouri. Attorney General

Schmitt is authorized to bring actions on behalf of Missouri that are “necessary to protect the rights

and interests of the state, and enforce any and all rights, interests, or claims any and all persons,




                                                  3
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 4 of 83 PageID #: 536




firms or corporations in whatever court or jurisdiction such action may be necessary.” Mo. Rev.

Stat. § 27.060.

   10. Plaintiff State of Nebraska is a sovereign State of the United States of America. Nebraska

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   11. Douglas J. Peterson is the Attorney General of Nebraska. Attorney General Peterson is

authorized to bring legal actions on behalf of the State of Nebraska and its citizens.

   12. Plaintiff State of Arkansas is a sovereign State of the United States of America. Arkansas

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   13. Leslie Rutledge is the Attorney General of Arkansas. Attorney General Rutledge is

authorized to bring legal actions on behalf of the State of Arkansas and its citizens.

   14. Plaintiff State of Kansas is a sovereign State of the United States of America. Kansas sues

to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   15. Derek Schmidt is the Attorney General of Kansas. Attorney General Schmidt is authorized

to bring legal actions on behalf of the State of Kansas and its citizens.

   16. Plaintiff State of Iowa is a sovereign State of the United States of America. Iowa sues to

vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   17. The Attorney General of Iowa is authorized and required to prosecute legal actions on

behalf of the State of Iowa and its citizens when requested to so by the Governor.

   18. Plaintiff State of Wyoming is a sovereign State of the United States of America. Wyoming

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   19. Bridget Hill is the Attorney General of Wyoming. Attorney General Hill is authorized to

bring legal actions on behalf of the State of Wyoming and its citizens. Wyo. Stat. Ann. § 9-1-

603(a).


                                                  4
 Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 5 of 83 PageID #: 537




    20. Plaintiff State of Alaska is a sovereign State of the United States of America. Alaska sues

to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    21. Treg Taylor is the Attorney General of Alaska. Attorney General Taylor is authorized to

bring legal actions on behalf of the State of Alaska and its citizens. The Attorney General is acting

pursuant to his authority to bring any action which he thinks necessary to protect the public interest

and to represent the State of Alaska in any suit to which it is a party. Alaska Stat. § 44.23.020(1),

(3), (9).

    22. Plaintiff State of South Dakota is a body politic created by the Constitution and laws of the

State; as such, it is not a citizen of any state. This action is brought by the State in its sovereign

capacity in order to protect the interests of the State of South Dakota and its citizens as parens

patriae, by and through Jason R. Ravnsborg, the Attorney General of the State of South Dakota.

The Attorney General is acting pursuant to his authority to appear for the State and prosecute any

civil matter in which the State is a party or interested when, in his judgment, the welfare of the

State demands. S.D. Codified Laws §1-11-1(2).

    23. Plaintiff State of North Dakota is a sovereign State of the United States of America. North

Dakota sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    24. Drew H. Wrigley is the North Dakota Attorney General. Attorney General Wrigley is

authorized to bring legal actions on behalf of the State of North Dakota and its citizens. N.D. Cent.

Code 54-12-02.

    25. Plaintiff State of New Hampshire is a sovereign State of the United States of

America. New Hampshire sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens

patriae interests.




                                                  5
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 6 of 83 PageID #: 538




    26. The Attorney General of New Hampshire is authorized to bring legal actions on behalf of

the State of New Hampshire and its citizens.

    27. Collectively, the States of Missouri, Nebraska, Arkansas, Kansas, Iowa, Wyoming, Alaska,

South Dakota, North Dakota, and New Hampshire are referred to herein as the “Plaintiff States.”

    28. Defendants are United States governmental officials and agencies responsible for adopting

and implementing the CMS vaccine mandate.

    29. Defendant Joseph R. Biden, Jr., is the President of the United States of America. He is

sued in his official capacity.

    30. Defendant United States Department of Health and Human Services (“HHS”) is an

independent federal agency.

    31. Defendant Xavier Becerra is the Secretary of HHS. He is sued in his official capacity.

    32. Defendant CMS is part of HHS.

    33. Defendant Chiquita Brooks-LaSure is the Administrator for the Centers for Medicare and

Medicaid Services. She is sued in her official capacity.

    34. Defendant Meena Seshamani is the Deputy Administrator and Director of the Center for

Medicare. She is sued in her official capacity.

    35. Defendant Daniel Tsai is the Deputy Administrator and Director of the Center for Medicaid

and CHIP Services. He is sued in his official capacity.

                                 JURISDICTION AND VENUE

    36. This Court has jurisdiction pursuant to 5 U.S.C. §§ 702–703 and 28 U.S.C. §§ 1331, 1361,

and 2201.

    37. This Court is authorized to award the requested declaratory and injunctive relief under

5 U.S.C. §§ 702 and 706, 28 U.S.C. §§ 1361 and 2201–2202, and its inherent equitable powers.


                                                  6
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 7 of 83 PageID #: 539




    38. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(e).

Defendants are United States agencies or officers sued in their official capacities. Plaintiff State

of Missouri is a resident of this judicial district, and a substantial part of the events or omissions

giving rise to this case occurred within this district.

    39. The Plaintiff States bring this action to redress harms to their sovereign interests, their

quasi-sovereign interests, their proprietary interests, their interests as parentes patriae, and their

interests under 5 U.S.C. § 702.

                                   GENERAL ALLEGATIONS

                The National Healthcare Worker Crisis and the Plaintiff States

    40. For many years now, beginning long before the COVID-19 pandemic and reaching now

all the way forward to the present, the healthcare industry in the United States has been

experiencing severe workforce shortages.

    41. Like the rest of the nation, Missouri is experiencing a healthcare worker shortage. A recent

study by the Missouri State Board of Nursing and the University of Missouri shows that 97 of

Missouri’s 114 counties have a nursing shortage. Lori Schneidt, Anne Heyen & Tracy Greever-

Rice, Show Me the Nursing Shortage: Location Matters in Missouri Nursing Shortage, 12 J.

Nursing Reg. 52 (2021); see also Press Release, University of Missouri, Nursing Shortage affects

rural Missourians more, MU study finds (June 24, 2021), available at https://showme.

missouri.edu/2021/nursing-shortage-affects-rural-missourians-more-mu-study-finds/.          In addi-

tion, rural areas in Missouri have about 40% fewer nurses than metropolitan areas. Id.; see also

Missouri State Board of Nursing, 2020 Missouri Nursing Workforce Report (2021), available at

https://pr.mo.gov/boards/nursing/2020-workforce-report.pdf.




                                                   7
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 8 of 83 PageID #: 540




   42. As of January 2021, Missouri had a staff nurse vacancy of 12% with 4,894 vacant staff

nurse positions. Missouri Hospital Association, 2021 Workforce Report (2021), available at

https://www.mhanet.com/mhaimages/Workforce/2021/2021_WF_report.pdf. Additionally, staff

nurse turnover is the highest it has been in 20 years at 18.1%. Id. The combined turnover rate

among all healthcare professions is 21.5%. Id.

   43. The president of eight SSM Health St. Louis-area hospitals, Jeremy Fotheringham, has

stated on the record that the nursing shortage in Missouri is “severe” with about 80 out of his 5,500

system nurses leaving each month. Pandemic Making Nursing Shortage a Crisis in St. Louis,

Associated Press (Oct. 4, 2021), https://www.usnews.com/news/best-states/missouri/articles/

2021-10-03/pandemic-making-nursing-shortage-a-crisis-in-st-louis. Likewise, Mercy is losing

about 160 out of 8,500 system nurses each month. Id.

   44. Nurses are leaving their positions because they are burnt-out from the COVID-19

pandemic or they are attracted to the increased demand and inflated hourly rates of travel

nursing. Michelle Munz, St. Louis-area hospitals face staffing crisis as burnout and high

‘traveler’ salaries cause nurses to leave (Oct. 4, 2021), https://www.stltoday.com/news/local/

metro/st-louis-area-hospitals-face-staffing-crisis-as-burnout-and-high-traveler-salaries-cause-

nurses/article_26ad26f2-8c3a-50a6-8ddf-1253bf745d86.html. Fotheringham says, “A year ago,

there were about 2,000 open traveler positions across the U.S. They have since ballooned to

30,000.” Id. This boom in demand for travel nurses is especially difficult for smaller, rural

hospitals who cannot afford to pay their nurses more to stay nor can they afford the exorbitant rates

of travel nurses. See Leticia Miranda, Rural hospitals losing hundreds of staff to high-paid

traveling nurse jobs (Sept. 15, 2021), https://www.nbcnews.com/business/business-news/rural-

hospitals-losing-hundreds-staff-high-paid-traveling-nurse-jobs-n1279199.


                                                 8
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 9 of 83 PageID #: 541




   45. On August 27, 2021, Missouri Governor Michael L. Parson signed Executive Order 21-09

declaring a targeted State of Emergency for Missouri’s healthcare system. Mo. Exec. Order 21-

09 (Aug. 27, 2021), available at https://www.sos.mo.gov/library/reference/orders/2021/eo9. The

Order declared that “a state of emergency exists relative to staff shortages in the State’s healthcare

system and the State’s recovery efforts from the COVID-19 public health threat.”

   46. The Order suspended “certain statutory and regulatory provisions related to telemedicine”

and vested state agencies, executive boards, and commissions with “authority [1] to waive or

suspend statutory or regulatory requirements, [. . .] where strict compliance would hinder the

State’s recovery from COVID-19, and [2] to ease licensing requirements to eliminate barriers to

the provision of health care services and other professions.” Specifically, the Director of the

Missouri Department of Health and Senior Services may temporarily waive or suspend any

requirements or rules that would “prevent, hinder, or delay necessary action by the department to

respond to staff shortages[.]” The Order also “direct[ed] the members of the [Missouri] National

Guard to provide assistance to the Department of Health and Senior Services to ensure on-time

reporting of data in electronic records from medical providers relative to COVID-19 testing, and

as otherwise needed to help aid the department to respond to staff shortages[.]”

   47. According to the Missouri Department of Health and Senior Services, there were 48 Small

Rural Hospitals operating in the State of Missouri as of September 24, 2020. Missouri Rural

Hospitals and Critical Access Hospitals, Missouri Department of Health and Senior Services

(Sept. 24,       2020),   available   at   https://health.mo.gov/living/families/ruralhealth/pdf/rural-

hospitals.pdf.

   48. Dr. Randy Tobler, CEO of Scotland County Hospital in Memphis, Missouri—a small rural

hospital—believes a COVID-19 vaccine mandate will encourage his staff to quit rather than


                                                    9
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 10 of 83 PageID #: 542




receive the vaccine. Elle Reeve, A Covid-19 vaccine mandate won’t force staff at this rural

Missouri hospital to get the shot, CEO says. It will make them quit., CNN (Oct. 12, 2021),

https://www.cnn.com/2021/10/12/us/unvaccinated-missouri-hospital-covid-19/index.html.

According to Dr. Tobler: “There were people in the hospital that freely shared that if the vaccine

mandate happened . . . , they would not work here. That’s just something they weren’t going to

put in their body.” Id. The hospital has already lost 10 of its 57 nurses (approximately 18 percent)

since the pandemic began and, at times, has had to turn away patients amid a surge in COVID-19

cases due to staff shortages. Lauren Weber Kaiser, In Missouri, the lack of a vaccine mandate

becomes competitive advantage in hospital staffing wars, St. Louis Post-Dispatch (Aug. 31, 2021),

https://www.stltoday.com/lifestyles/health-med-fit/coronavirus/in-missouri-the-lack-of-a-

vaccine-mandate-becomes-competitive-advantage-in-hospital-staffing-wars/article_64cc03c0-

5924-578e-9adc-d26e0e43db11.html. To fill the gaps, the hospital has hired travel nurses, which

cost $200 an hour or more—a price that small rural hospitals cannot easily afford. Id.

   49. Nebraska likewise has been experiencing a significant shortage in healthcare workers. This

crisis started long before the COVID-19 pandemic began. For example, the latest statistics

available from 2018 indicate that more than 4,300 job openings for registered nurses existed in

Nebraska.

   50. According to data from the Nebraska Department of Health and Human Services, nine

assisted living facilities and 20 nursing homes in rural Nebraska have closed since 2019.

   51. On August 26, 2021, Nebraska Governor Pete Ricketts, much like Missouri Governor

Parson, issued Executive Order No. 21-12. That order declared that “Nebraska hospitals, clinics,

and other health care facilities are facing a shortage of health care professionals” and that “a

hospital capacity emergency exists.” Neb. Exec. Order 21-12 (Aug. 26, 2021), available at


                                                10
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 11 of 83 PageID #: 543




https://www.dropbox.com/s/sm3dpu7t094ymum/Executive%20Order%2021-12%20-

%20Additional%20Healthcare%20Workforce%20Capacity.pdf?dl=0. Governor Ricketts issued

the order, which temporarily waived certain statutes and regulations governing healthcare workers,

to “protect[] the citizens of Nebraska from the public health threat of a hospital capacity and

workforce emergency.” Id. The order addressed the hospital capacity issue by “expand[ing] the

pool of healthcare professionals who are eligible to care for Nebraskans.” Gov. Ricketts Takes

Action to Help Hospitals Increase Staffing (Aug. 27, 2021), https://governor.nebraska.gov/

press/gov-ricketts-takes-action-help-hospitals-increase-staffing.

   52. Also, on August 26, 2021, Governor Ricketts announced a Directed Health Measure, see

id., suspending certain elective surgeries that could wait four weeks or longer without substantially

changing a patient’s outcome. Directed Health Measure Order 2021-002, Nebraska Department

of Health and Human Services, https://dhhs.ne.gov/Archived%20DHMs/DHM%202021-002.pdf.

   53. In August 2021, just weeks before President Biden announced that his Administration

would create the CMS vaccine mandate, Nebraska state officials started specifically recruiting

unvaccinated healthcare workers to address their workforce shortage. Alyssa Lukpat and Lauren

McCarthy, Nebraska is recruiting unvaccinated nurses to plug a staffing shortage, N.Y. Times

(Aug. 26, 2021), https://www.nytimes.com/2021/08/26/us/nebraska-delta-nurses-unvaccinated

.html. The advertisements that state officials posted for positions in veterans’ homes, psychiatric

treatment facilities, and other locations explicitly said, “No mandated Covid-19 vaccinations.” Id.

   54. In late September 2021, Troy Bruntz—the President and Chief Executive Officer of

Community Hospital in McCook, Nebraska, a small rural community—announced that some of

his hospital’s employees will quit rather than get vaccinated. Andrew Ozaki, Federal vaccine

mandate will cause exodus of staff, rural hospital leader warns, KETV (Sept. 29, 2021),


                                                 11
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 12 of 83 PageID #: 544




https://www.ketv.com/article/federal-vaccine-mandate-will-cause-exodus-of-staff-rural-hospital-

leader-warns/37780945. He said that his hospital “might end up losing a lot of services . . . that

our communities definitively need[].” Id.

   55. Mary Lanning Healthcare—a hospital in Hastings, Nebraska, which is a rural community

with less than 25,000 residents—is also concerned about the CMS vaccine mandate’s effect. The

hospital already has 45 vacancies within its 270 registered nurse staff positions, and it projects that

the mandate will only make matters worse. Moreover, some of its critical units, such as its

emergency department and intensive care unit, have current vaccination rates at or below 50%,

thus adding to its concerns.

   56. Great Plains Health—a hospital in North Platte, Nebraska, which is a rural community with

less than 25,000 residents—shares these concerns about the CMS vaccine mandate. Because of

its ongoing workforce shortages, the hospital is currently able to staff only around 70 of its 116

beds. To make matters worse, the hospital has received notice from a majority of the personnel

within its behavioral health unit that they will resign rather than submit to vaccination. Because

its behavioral health unit is one of only two in western Nebraska, the impact of reducing those

services will be felt throughout the western half of the State.

   57. Other Medicare- and Medicaid-qualifying healthcare providers have expressed similar

concerns about the negative impacts of the CMS vaccine mandate.

   58. As of October 24, 2021, 101 of the 195 nursing homes in Nebraska (51.8%) had staff

vaccination rates under 75%. Breaking down those numbers further, 24 of the 195 nursing homes

(12.3%) had staff vaccination rates under 50%, and 77 of the 195 (39.4%) had staff vaccination

rates between 50% and 75%.




                                                  12
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 13 of 83 PageID #: 545




    59. In late September 2021, Governor Ricketts publicly said: “I don’t think the Administration

understands the devastating effect it will have on rural health care if they go forward with this

vaccine mandate.” Ozaki, supra.

    60. Wyoming has also been experiencing a significant shortage in healthcare workers.

Wyoming’s hospitals have sought additional support to respond to the COVID-19 pandemic and

the surge in hospitalized patients.

    61. To help with the healthcare workforce crisis, on September 21, 2021, Wyoming Governor

Mark Gordon activated the Wyoming National Guard to provide temporary assistance to hospitals

throughout Wyoming. Governor Gordon called approximately 95 soldiers and airmen to State

active duty orders assigning them to hospital locations at 24 different sites within 17 Wyoming

counties to augment hospital and Wyoming Department of Health staff to ease workloads.

    62. The Wyoming National Guard members’ responsibilities include assisting in

environmental cleanup in hospital facilities; food and nutrition service; COVID-19 screening;

managing personal protective equipment supplies; and other support tasks.

    63. Nearly every county in Wyoming is designated a HIPSA (health professional shortage

area) by the Health Resources and Services Administration.

    64. Certain Wyoming healthcare providers have been forced to operate in crisis standards of

care in order to mitigate COVID-19 and the resultant staffing shortages, which are significant in

Wyoming.

    65. The State of Wyoming, through the Department of Health, operates several safety net

healthcare facilities to serve the mentally ill, the disabled, and the elderly. These facilities operate

in rural frontier areas and experience significant staffing shortages.




                                                  13
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 14 of 83 PageID #: 546




   66. The State of Alaska also faces a significant shortage in healthcare workers. Alaska has

been dealing with that issue before the COVID-19 pandemic began.

   67. An October 2021 survey from the Kaiser Family Foundation confirmed that vaccine

mandates pose substantial threats to existing workforce shortages. That survey found that 72

percent of “unvaccinated workers say they will quit” rather than submit to a vaccine mandate.

Chris Isidore and Virginia Langmaid, 72% of unvaccinated workers vow to quit if ordered to get

vaccinated, CNN.com (Oct. 28, 2021), https://www.cnn.com/2021/10/28/business/covid-vaccine-

workers-quit/index.html.

   68. The CEO of the National Rural Health Association, Alan Morgan, has acknowledged the

serious challenge that a vaccine mandate presents for rural healthcare providers: “Obviously, it’s

going to be a real challenge for these small, rural hospitals to mandate a vaccine when they’re

already facing such significant workforce shortages.” Weber Kaiser, supra.

   69. The Plaintiff States anticipate that the CMS vaccine mandate will have devastating adverse

effects on healthcare services in their States, particularly in their rural communities.

                      The Plaintiff States’ Role in Medicare and Medicaid

   70. Medicaid is a cooperative state-federal program in which States may choose to participate.

   71. Medicaid is a program that helps States finance the medical expenses of their citizens.

   72. The Plaintiff States have all entered into agreements with the federal government to

participate in Medicaid.

   73. Medicaid providers receive funding for services through a provider contract with individual

States. The Plaintiff States thus bear the burden of issuing sanctions or terminating provider

contracts. CMS, Quality, Safety & Oversight – General Information, https://www.cms.gov/

Medicare/Provider-Enrollment-and-Certification/SurveyCertificationGenInfo.


                                                 14
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 15 of 83 PageID #: 547




   74. Medicare is a medical-funding program paid for and administered by the federal govern-

ment.

   75. The Plaintiff States employ state surveyors who regularly evaluate healthcare facilities’

compliance with Medicare and Medicaid requirements.           When the state surveyors conduct

inspections, they assess compliance with both federal and state regulations at the same time.

Nebraska currently employs over 60 state surveyors who work under its Department of Health and

Human Service’s Division of Public Health. Iowa currently employs about 80 state surveyors

within its Health Facilities Division of the Iowa Department of Inspections and Appeals.

   76. Unless state surveyors confirm a healthcare facilities’ compliance with Medicare and

Medicaid requirements, those facilities are not entitled to obtain Medicare or Medicaid reimburse-

ments.

   77. When state surveyors find that a healthcare facility is not in compliance with federal

Medicare or Medicaid regulations, they send the facility a violation report—known as a 2567

Form—informing it of the deficiencies.

   78. The Plaintiff States also have state-run healthcare facilities that receive Medicare and

Medicaid funding.

   79. Missouri has 13 state-run healthcare facilities that receive Medicare and Medicaid funding

and fall within the scope of the CMS vaccine mandate. These include five adult inpatient facilities,

one children’s psychiatric hospital, six Intermediate Care Facilities for Individuals with

Intellectual Disabilities (“ICFs-IDD”), and one hospital system. The Center for Behavioral

Medicine, Fulton State Hospital, Northwest Missouri Psychiatric Rehabilitation Center, Southwest

Missouri Mental Health Center, and the St. Louis Forensic Treatment Center provide inpatient and

residential psychiatric services. These five facilities, which collectively have 1,127 beds, qualify


                                                15
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 16 of 83 PageID #: 548




as hospitals under the CMS vaccine mandate. The Hawthorn Children’s Psychiatric Hospital is a

28-bed Psychiatric Residential Treatment Facility that provides acute and residential services to

children and youth. The Bellefontaine Habilitation Center, Higginsville Habilitation Center, St.

Charles Habilitation Center, SEMO Residential Services in Sikeston and Poplar Bluff, and the

South County Habilitation Center each provide 24-hour accommodation, board, personal care, and

basic health and nursing care services to individuals with intellectual disabilities. They qualify as

ICFs-IID under the CMS vaccine mandate.

   80. Nebraska has two state-run healthcare facilities that receive Medicare and Medicaid

funding. The first is the Lincoln Regional Center, which is a 250-bed inpatient psychiatric hospital

that falls within the scope of the CMS vaccine mandate. It serves people who need very specialized

psychiatric services and people who, because of mental illness, require a highly structured

treatment setting. As of November 2021, only 68% of the staff at the Lincoln Regional Center had

received a COVID-19 vaccine. The second facility is the Beatrice State Developmental Center. It

is a residential treatment facility dedicated to providing specialized psychological, medical, and

developmental supports to people with intellectual and developmental disabilities. It qualifies as

an ICF-IID and is covered by the CMS vaccine mandate. As of November 2021, only 57.5% of

the staff at the Beatrice State Developmental Center had received a COVID-19 vaccine.

   81. Alaska has one state-run health care facility that receives Medicare and Medicaid funding,

the Alaska Psychiatric Institute (“API”). API is an 80-bed psychiatric hospital that falls within the

CMS mandate. The state of Alaska is required by state law to make mental health treatment

available at a state-operated hospital to any individual ordered to be involuntarily committed for

treatment under state law. Alaska Stat. § 47.30.760.




                                                 16
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 17 of 83 PageID #: 549




    82. Iowa has five state-run healthcare facilities that receive Medicare and Medicaid funding

and fall under the CMS vaccine mandate as written. The Cherokee and Independence Mental

Health Institutes serve children, adolescents, and adults in need of specialized psychiatric services

and people who, because of persistent mental illness, require a highly structured treatment setting

or higher level of specialized care. These facilities serve as a provider of last resort and collectively

treated more than 400 people within state fiscal year 2020. The Glenwood and Woodward

Resource Centers are residential treatment facilities dedicated to providing specialized psycho-

logical, medical, and developmental supports to people with intellectual and developmental

disabilities. Both are licensed as ICFs-IID. Today, Glenwood and Woodward are home to 286

Iowans. The Iowa Veterans serves as a long-term health care facility providing nursing and

residential levels of care for honorably discharged veterans and their dependent spouses, surviving

spouses, and gold star parents. It provides a continuum of care to more than 500 veterans and

family members, including at its 113-bed licensed residential care facility.

    83. The State of Wyoming, through the Department of Health, operates three state-run facilities

that receive Medicare and Medicaid funding. The facilities are the Wyoming State Hospital, the

Wyoming Life Resource Center, and the Wyoming Retirement Center. These facilities serve the

mentally ill, the disabled, and the elderly. These facilities operate in rural frontier areas and

experience significant staffing shortages.

         The President’s Announcement of Widespread Federal Vaccine Mandates

    84. For the first six months of President Biden’s Administration, none of his agencies sought

to impose vaccine mandates on the American people. As recently as July 23, 2021, the White

House announced that mandating vaccines is “not the role of the federal government.” Press

Briefing by Press Secretary Jen Psaki (July 23, 2021), The White House, https://www.whitehouse.


                                                   17
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 18 of 83 PageID #: 550




gov/briefing-room/press-briefings/2021/07/23/press-briefing-by-press-secretary-jen-psaki-july-

23-2021/.

   85. On September 9, 2021, amid flagging poll numbers due to the crisis in Afghanistan and on

the southern border, the Administration’s policy on federal vaccine mandates underwent a

dramatic about-face.

   86. On September 9, President Biden gave a speech announcing his six-point Plan to “turn the

tide on COVID-19.”         Joseph Biden, Remarks at the White House (Sept. 9, 2021),

https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-president-

biden-on-fighting-the-covid-19-pandemic-3/ (“Biden Speech”).

   87. President Biden announced that the first plank of his plan is to “require more Americans to

be vaccinated.” Id. The purpose of this plan, as he said, is to “reduce the number of unvaccinated

Americans.” Id.

   88. President Biden laid primary responsibility for the ongoing pandemic with unvaccinated

Americans, saying that he is “frustrated with the nearly 80 million Americans who are still not

vaccinated.” Id. He stated that “[t]his is a pandemic of the unvaccinated,” and that the “nearly 80

million Americans [who are] not vaccinated . . . can cause a lot of damage—and they are.” Id. He

even blamed the unvaccinated for healthcare shortages: “The unvaccinated overcrowd our

hospitals, are overrunning the emergency rooms and intensive care units, leaving no room for

someone with a heart attack . . . or cancer.” Id. Scolding the unvaccinated, he stated: “[O]ur

patience is wearing thin. And your refusal has cost all of us.” Id. And in an apparent effort to

foment national discord, he said: “For the vast majority of you who have gotten vaccinated, I

understand your anger at those who haven’t gotten vaccinated.” Id.




                                                18
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 19 of 83 PageID #: 551




   89. President Biden announced several federal vaccine mandates—(1) a mandate from the

Occupational Safety and Health Administration (“OSHA”) for companies with more than 100

employees, (2) a mandate for federal employees, (3) a mandate for employees of federal contrac-

tors and subcontractors, and (4) the CMS vaccine mandate challenged here. Id. Except for the

CMS mandate, all these vaccines mandates have been enjoined or stayed by federal courts. See

NFIB v. OSHA, 142 S. Ct. 661 (2022) (staying the OSHA mandate); Feds for Med. Freedom v.

Biden, No. 3:21-CV-356, --- F. Supp. 3d ---, 2022 WL 188329 (S.D. Tex. Jan. 21, 2022) (enjoining

the federal employee mandate); Georgia v. Biden, No. 1:21-cv-163, --- F. Supp. 3d ---, 2021 WL

5779939 (S.D. Ga. Dec. 7, 2021) (enjoining the federal contractor mandate). And the OSHA

mandate has been withdrawn by the agency. See 87 Fed. Reg. 3,928 (Jan. 26, 2022).

   90. President Biden also expressed a dismissive view of States that have used their

constitutionally guaranteed police powers to adopt contrary public-health policies. Id. He stated:

“Let me be blunt. My plan also takes on elected officials and states that are undermining . . . these

lifesaving actions.” Id. Speaking scornfully of “governor[s]” who oppose the new federal man-

dates, he promised that “if these governors won’t help us beat the pandemic, I’ll use my power as

President to get them out of the way.” Id.

                            Overview of the CMS Vaccine Mandate

   91. On November 5, 2021, nearly two months after President Biden announced his federal

vaccine mandates, CMS finally published the IFC challenged here, which contains the CMS

vaccine mandate. 86 Fed. Reg. 61,555.

   92. The CMS vaccine mandate covers fifteen categories of Medicare- and Medicaid-certified

providers and suppliers. By expanding its reach in this way, the mandate broadly sweeps in a

diverse set of healthcare providers. These include, among others, rural health clinics, hospitals,


                                                 19
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 20 of 83 PageID #: 552




long-term-care facilities, and home health agencies. 86 Fed. Reg. at 61,569–70. Demonstrating

the far reach of the mandate, CMS reported that “Medicare-participating hospitals . . . include

nearly all hospitals in the U.S.” Id. at 61,577.

    93. The Plaintiff States are home to many healthcare providers that fall within the fifteen

categories of Medicare- and Medicaid-certified providers and suppliers covered by the CMS

vaccine mandate.

    94. CMS recognized that the “providers and suppliers regulated under this rule are diverse in

nature, management structure, and size.” 86 Fed. Reg. at 61,602. Despite this, CMS relied

predominantly on facts and figures involving long-term-care facilities—providers who serve

mostly elderly and often immunocompromised patients—to make its case for applying the vaccine

mandate to fourteen other categories of Medicare- and Medicaid-certified providers. See, e.g., id.

at 61,585 (discussing “case rates among [long-term-care] facility residents,” and claiming, without

citation, that those facilities’ “experience may generally be extrapolated to other settings”). CMS

did this while acknowledging that “[a]ge remains a strong risk factor for severe COVID–19

outcomes,” id. at 61,566, and that “risk of death from infection from an unvaccinated 75- to 84-

year-old person is 320 times more likely than the risk for an 18- to 29-years old person,” id. at

61,610 n.247.

    95. CMS acknowledged that psychiatric residential treatment facilities serve individual under

21 years of age, see id. at 61576, and that “rural and other community-care oriented health centers

serve the full age spectrum and a lower fraction of severely health-impaired,” id. at 61,612. Even

though the individuals served by these facilities are generally at a low risk from COVID-19, the

IFC imposed the same stringent vaccine mandate on psychiatric residential treatment facilities and

rural health centers as it did on long-term-care facilities.


                                                   20
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 21 of 83 PageID #: 553




   96. CMS applied its vaccine mandate to practically every full-time employee, part-time

worker, trainee, student, volunteer, or contractor working at the covered facilities. The mandate

requires vaccination for all “facility staff”—a term that includes employees, trainees, students,

volunteers, or contractors—“who provide any care, treatment, or other services for the facility,”

“regardless of . . . patient contact.” Id. at 61,570 (emphasis added). This includes “administrative

staff” and “housekeeping and food services,” to name a few. Id. CMS also imposed its mandate

on “any individual that . . . has the potential to have contact with anyone at the site of care.” Id.

at 61,571 (emphasis added). This includes “staff that primarily provide services remotely via tele-

work” but “occasionally encounter fellow staff . . . who will themselves enter a health care

facility.” Id. at 61, 570. Illustrating its breadth, the mandate also covers a contracted “crew

working on a construction project whose members use shared facilities (restrooms, cafeteria, break

rooms) during their breaks[.]” Id. at 61,571.

   97. Maximizing the scope of the mandate, CMS allowed exemptions only to the extent

necessary to “comply with applicable Federal anti-discrimination laws and civil rights protections”

such as medical exemptions required by the Americans with Disabilities Act (“ADA”) and

religious exemptions required by Title VII of the Civil Rights Act of 1964. Id. at 61,568.

   98. The IFC became immediately effective on November 5, 2021—the day it was published.

Id. at 61,555.

   99. The IFC originally directed providers to ensure that employees submit to at least one

vaccine dose by December 6, 2021, and that employees be fully vaccinated by January 4, 2022.

Id. at 61,571. This Court issued a preliminary injunction enjoining the mandate on November 29,

2021. After the Supreme Court granted a stay of this Court’s injunction on January 13, 2022, and

allowed the IFR to take effect, see Biden v. Missouri, 142 S. Ct. 647 (2022) (per curiam), CMS


                                                 21
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 22 of 83 PageID #: 554




ordered that covered workers in the Plaintiff States must receive the first vaccine dose by February

14, 2022, and achieve full vaccination by March 15, 2022. CMS, Guidance for the Interim Final

Rule – Medicare and Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination

(Jan. 14, 2022), https://www.cms.gov/files/document/qso-22-09-all-injunction-lifted.pdf. CMS

told covered facilities in the Plaintiff States that they would not face enforcement action until the

middle of April 2022 so long as they maintain a certain percentage of compliance beginning

February 14, 2022, and they have a plan to achieve full compliance by the middle of April 2022.

Id.

      100.       CMS recognized the breadth of its vaccine mandate, acknowledging its “near-

universal applicability” to health-care staff, and observing that under the rule “virtually all health

care staff in the U.S. will be vaccinated for COVD–19 within a matter of months.” 86 Fed. Reg.

at 61,573. CMS estimated that approximately 10.3 million employees will fall under the mandate.

Id. at 61,603.

      101.       CMS settled on the draconian course of mandating vaccines because it determined

that the “most important inducement [for vaccination] will be the fear of job loss.” Id. at 61,607.

      102.       CMS “expect[s]” its vaccine mandate “to remain relevant for some time beyond the

end” of the formal public health emergency and anticipates retaining the mandate “as a permanent

requirement for facilities.” Id. at 61,574.

                 The CMS Vaccine Mandate and Healthcare Worker Shortages

      103.       CMS admitted that “currently there are endemic staff shortages for almost all

categories of employees at almost all kinds of health care providers and supplier[s].” 86 Fed. Reg.

at 61,607. “1 in 5 hospitals,” CMS noted, “report that they are currently experiencing a critical

staffing shortage.” Id. at 61,559. In addition, “approximately 23 percent of [long-term-care]


                                                 22
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 23 of 83 PageID #: 555




facilities report[] a shortage in nursing aides; 21 percent report[] a shortage of nurses; and 10 to 12

percent report[] shortages in other clinical and non-clinical staff categories.” Id. It is thus not

surprising, CMS relayed, that “[o]ver half (58 percent) of nursing homes participating in a recent

survey . . . indicated that they are limiting new admissions due to staffing shortages.” Id.

   104.        In creating the rule, CMS was “aware of concerns about health care workers

choosing to leave their jobs rather than be vaccinated” and knew that “there might be a certain

number of health care workers who choose to do so.” Id. at 61,569. In fact, CMS reported that “a

large long term care association” recently issued a policy statement observing that “some in the

sector fear that a vaccine mandate could lead to worker resignations.” Id. at 61,565-66. But CMS

dismissed these concerns because “there is insufficient evidence to quantify” them. Id. at 61,569.

Instead, CMS optimistically believed, based only on a few anecdotes and without reliable data,

that “the COVID-19 vaccine requirements . . . will result in nearly all health care workers being

vaccinated.” Id. (emphasis added); see also id. at 61,609 (finding that only a “relatively small

fraction” of turnover “will be due to vaccination”).

   105.        CMS repeatedly admitted that the current “endemic staff shortages . . . may be made

worse if any substantial number of unvaccinated employees leave health care employment

altogether.” Id. at 61,607; see also id. at 61,608 (“[T]here may be disruptions in cases where

substantial numbers of health care staff refuse vaccination and are not granted exemptions and are

terminated, with consequences for employers, employees, and patients”); id. at 61,609 (“[I]t is true

that compliance with this rule may create some short-term disruption of current staffing levels for

some providers or suppliers in some places.”).

   106.        CMS also recognized that these staffing concerns apply even if providers do not

lose a substantial number of employees. In fact, “[e]ven a small fraction” of what CMS called


                                                  23
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 24 of 83 PageID #: 556




“recalcitrant unvaccinated employees” who decline to take a vaccine “could disrupt facility

operations.” Id. at 61,612.

   107.        CMS additionally recognized facts indicating that potential disaster awaits rural

communities, including minority health-care workers in those communities. CMS acknowledged

that “vaccination rates are disproportionately low among nurses and health care aides” in rural

locations and other “communities that experience social risk factors.” Id. at 61,566. And it

admitted that “early indications are that rural hospitals are having greater problems with employee

vaccination . . . than urban hospitals.” Id. at 61,613. In addition, CMS observed that “nurses and

aides in these [rural and other underprivileged] settings are more likely to be members of racial

and ethnic minority communities.”        Id. at 61,566.    This means minority workers in rural

communities are among the most likely groups to lose their jobs under the mandate.

   108.        CMS nonetheless dismissed these workforce concerns because it thought that the

unvaccinated employees would get jobs in other healthcare positions, such as “physician and

dental offices,” that are not covered by the CMS vaccine mandate. Id. at 61,607. Yet this specula-

tion does nothing to abate the debilitating losses threated to the healthcare facilities falling under

this mandate. It does not suggest that the healthcare worker shortage will disappear but only that

shortages will be further concentrated among the healthcare facilities covered by the CMS man-

date.

   109.        CMS also conjectured that staffing deficiencies at facilities covered by the mandate

“might be offset by persons returning to the labor market who were unwilling to work at locations

where some other employees are unvaccinated and hence provide some risk[] to those who have

completed the primary vaccination series for COVID–19.”             Id. at 61,607.    This was pure

speculation. CMS cited no evidence that such vaccinated workers exist. In any event, a worker


                                                 24
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 25 of 83 PageID #: 557




who harbored such fears would still have to regularly work with unvaccinated patients, and it is

irrational to assume that they would be willing to work with unvaccinated patients but not

unvaccinated co-workers.

   110.        CMS additionally dismissed workforce shortage concerns by assuming “a dynamic

labor market” where “net employment opportunities . . . do not change.” Id. at 61,608 (finding

“no reason to believe” that “net employment opportunities” will “change”). But an industry with

admittedly “endemic staff shortages,” id. at 61,607, is not a dynamic labor market.            Net

employment opportunities in the existing healthcare industry can and do change. Indeed, if the

CMS vaccine mandate drives out enough employees from particular facilities, those facilities

might be forced to close certain divisions, cancel certain services, or shutter altogether—any of

which would decrease net employment opportunities.

   111.        If CMS is wrong in its optimism that “nearly all health care workers” will submit

to the mandate, the results will be disastrous. Id. at 61,569. CMS itself concluded that approx-

imately 2.4 million healthcare workers will get vaccinated under this IFC in the first year. Id. at

61,603. If even 10 percent of those workers decline vaccination, the healthcare industry will lose

over 200,000 employees, dealing a devastating blow to an already struggling industry. Id. at

21,606.

   112.        Further confirming that this vaccine mandate threatens grave staffing concerns,

CMS observed that many healthcare workers decline other vaccines. It did so by noting that

“studies on annual seasonal influenza vaccine uptake consistently show that half of health care

workers may resist seasonal influenza vaccination nationwide.” Id. at 61,568.

   113.        Despite the very real concerns about the vaccine mandate pushing many healthcare

workers out of their jobs, CMS remarkably concluded that existing staffing shortages are actually


                                                25
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 26 of 83 PageID #: 558




a reason to impose the mandate. In CMS’s words, “the urgent need to address COVID-related

staffing shortages that are disrupting patient access to care[] provides strong justification as to the

need to issue this” mandate. Id. at 61,567. Because “unvaccinated staff” are “at greater risk for

infection” and “absenteeism,” CMS elaborated, allowing providers to continue hiring them might

“create staffing shortages.” Id. at 61,559. But this speculation ignores the obvious fact that

maintaining a larger pool of potential workers, even if some might have a bout with COVID-19,

is better than categorically excluding a class of individuals.

             The CMS Vaccine Mandate’s Contradictions, Concessions, and Omissions

      114.        CMS “considered requiring daily or weekly testing of unvaccinated individuals”

instead of mandatory vaccination. 86 Fed. Reg. at 61,614. But it chose the vaccine mandate for

one reason: because it believes that “vaccination is a more effective infection control measure.”

Id.    In so doing, CMS failed to discuss how other countervailing considerations—such as

workforce shortages and personal liberty considerations—factored into the rejection of the

periodic testing option. Nor did CMS acknowledge the disparity between its rejection of testing

and OSHA’s Emergency Temporary Standard (“ETS”), see COVID–19 Vaccination and Testing;

Emergency Temporary Standard, 86 Fed. Reg. 61,402 (Nov. 5, 2021), which allowed regular

testing as an adequate alternative.

      115.        CMS “considered whether it would be appropriate to limit COVID-19 vaccination

requirements to staff who have not previously been infected by SARS-CoV-2.” 86 Fed. Reg. at

61,614. Yet it decided against that option because it did not think that “infection-induced

immunity, also called ‘natural immunity,’” is “equivalent to receiving the COVID-19 vaccine.”

Id. at 61,559. But elsewhere, CMS recognized the value of natural immunity when it stated that

each day 100,000 people are “recover[ing] from infection,” that they “are no longer sources of


                                                  26
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 27 of 83 PageID #: 559




future infections,” and that their natural immunity “reduce[s] the risk to both health care staff and

patients substantially.” Id. at 61,604 (emphasis added).

   116.        CMS ignored key evidence indicating that natural immunity effectively guards

against the Delta variant. In a study of a large population of patients in Israel, vaccinated people

who had not been previously infected had 13 times higher odds of experiencing a breakthrough

infection with the Delta variant than patients who had recovered from COVID but were never

vaccinated. Sevan Gazit et al., Comparing SARS-CoV-2 natural immunity to vaccine-induced

immunity:    Reinfections    versus   breakthrough     infections,   medRxiv      Preprint   (2021),

https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1.

   117.        CMS repeatedly said, much like President Biden had in his September 9 speech,

that the currently authorized COVID-19 vaccines are “highly effective at protecting vaccinated

people against symptomatic and severe COVID-19.” 86 Fed. Reg. at 61,560.

   118.        CMS also recognized that “the effectiveness of the vaccine to prevent disease

transmission by those vaccinated [is] not currently known.” Id. at 61,615.

   119.        CMS’s various directives sent conflicting messages on “booster” or additional

doses. On the one hand, CMS said that its mandate does not require “booster doses” or additional

doses of the vaccine. 86 Fed. Reg. at 61,563. But on the other hand, CMS included a “booster”

shot in its cost calculations, id. at 61,608, and acknowledged that “[s]ome in the scientific

community believe that ‘booster’ vaccinations after 6 or 8 months would be desirable to maintain

a high level of protection against the predominant Delta version of the virus,” id. at 61,609.

   120.        CMS recognized that vaccines, like all other medical interventions, are not without

risks. “Serious adverse reactions also have been reported following COVID–19 vaccines,” even




                                                 27
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 28 of 83 PageID #: 560




though “they are rare.” Id. at 61,565. The adverse reactions include “anaphylaxis,” “thrombosis,”

and “myocarditis and/or pericarditis,” to name a few. Id.

   121.        CMS never considered other important aspects of imposing its mandate. Among

those are the interests of healthcare workers who—for any number of varying personal reasons—

do not want to take one of the currently authorized vaccines.

   122.        Upon information and belief, some religious healthcare institutions received

Medicare and Medicaid funding and will be subject to the CMS vaccine mandate. The mandate

will thus require those religious institutions to terminate ministerial employees in violation of the

First Amendment. Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2061 (2020).

But CMS never considered this problem when imposing its mandate.

      The CMS Vaccine Mandate’s Unprecedented Intrusion on States’ Police Powers

   123.        CMS repeatedly recognized that the vaccine mandate is unprecedented because

CMS has never before mandated any vaccination. See, e.g., 86 Fed. Reg. at 61,567 (“We have not

previously required any vaccinations”); id. at 61,568 (“[W]e have not, until now, required any

health care staff vaccinations”); id. (“We acknowledge that we have not previously imposed such

requirements”).

   124.        CMS made clear that the vaccine mandate is an attempt to nationalize the COVID-

19 vaccination response. For example, it explained that “the inconsistent web of State, local, and

employer COVID–19 vaccination requirements have established a pressing need for a consistent

Federal policy mandating staff vaccination in health care settings that receive Medicare and

Medicaid funds.” Id. at 61,584.

   125.        CMS made clear that it intends for the vaccine mandate to preempt any arguably

inconsistent state and local laws. See, e.g., id. at 61,568 (“We intend . . . that this nationwide


                                                 28
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 29 of 83 PageID #: 561




regulation preempts inconsistent State and local laws”); id. at 61,572 (“[T]his IFC preempts the

applicability of any State or local law providing for exemptions to the extent such law provides

broader exemptions than provided for by Federal law and are inconsistent with this IFC”); id. at

61,613 (“This rule would pre-empt some State laws that prohibit employers from requiring their

employees to be vaccinated for COVID–19.”).

   126.        The CMS vaccine mandate requires certain state-run healthcare facilities that

receive Medicare or Medicaid funding to force their state employees to get vaccinated. Id. at

61,613 (“[T]o the extent that State-run facilities that receive Medicare and Medicaid funding are

prohibited by State or local law from imposing vaccine mandates on their employees, there is direct

conflict between the provisions of this rule (requiring such mandates) and the State or local law

(forbidding them).”).

   127.        The CMS vaccine mandate forces certain state-run healthcare facilities that receive

Medicare or Medicaid funding to comply with overbearing, invasive, and unnecessary record-

keeping obligations. Even for the rare healthcare staff who fall outside the IFC, the facility still

must “identify and monitor these individuals” by “documenting and tracking [their] vaccination

status.” Id. at 61,571. To what end or purpose, CMS does not say. And though the mandate

purports to require only initial vaccination and not booster shots, covered facilities must track and

document the “vaccination status of any staff who have obtained any booster doses.” Id. Again,

CMS does not disclose the purpose of this seemingly arbitrary demand. In addition, “[v]accine

exemption requests and outcomes must also be documented” and preserved. Id. at 61,572. This

is so even though CMS has no interest in knowing whether healthcare facilities comply with the

ADA or Title VII.




                                                 29
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 30 of 83 PageID #: 562




   128.        CMS announced that it will coopt state employees to enforce the vaccine mandate.

As it explained, CMS “will advise and train State surveyors on how to assess compliance with the

new requirements.” Id. at 61,574. Those state employees will need to “review[] the entity’s

records of staff vaccinations” and “interview[] staff to verify their vaccination status.” Id. The

surveyors will also “cite providers and suppliers when noncompliance is identified.” Id.

   129.        Non-compliant healthcare providers are “subject to enforcement remedies imposed

by CMS depending on the level of noncompliance and the remedies available under Federal law

(for example, civil money penalties, denial of payment for new admissions, or termination of the

Medicare/Medicaid provider agreement).” Id. at 61,574.

   130.        It appears that a covered healthcare provider that flatly refuses to comply—or

otherwise cooperate—with the vaccine mandate will face termination of its Medicare/Medicaid

provider agreement. Id. at 61,574 (noting that the available “remedies” include “termination of

the Medicare/Medicaid provider agreement”); Background Press Call on OSHA and CMS Rules

for Vaccination in the Workplace (Nov. 4, 2021), The White House, https://www.whitehouse.gov/

briefing-room/press-briefings/2021/11/04/background-press-call-on-osha-and-cms-rules-for-

vaccination-in-the-workplace/ (“If a facility were not making steps to come into compliance, we

have a range of remedies. . . . We could . . . certainly, as a last resort, terminate them from the

Medicare and Medicaid programs.”).

   131.        CMS recognized that governing statutes require HHS Secretary Becerra to “consult

with appropriate State agencies” when determining the “conditions of participation by providers

of services,” 42 U.S.C. § 1395z, and that no such consultation occurred before the IFC issued, 86

Fed. Reg. at 61,567. Yet CMS claimed that it did not violate that statute because it “intend[s] to

engage in consultations with appropriate State agencies . . . following the issuance of this rule,”


                                                30
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 31 of 83 PageID #: 563




and it does not “understand the statute to impose a temporal requirement to do so in advance of

the issuance of this rule.” 86 Fed. Reg. at 61,567. To date, CMS has not consulted with the

Plaintiff States regarding the vaccine mandate, nor has it consulted with the Plaintiff States about

any of the subsequent binding guidance documents it has issued concerning that mandate.

   132.        On January 4, 2022, many of the Plaintiff States sent a comment letter to CMS

explaining that the agency’s reliance on the Delta variant to justify its actions is “already stale” in

light of the Omicron variant. Even after receiving such notice, CMS still failed to consult with the

Plaintiff States concerning the vaccine mandate.

The CMS Vaccine Mandate’s Failure to Comply with Notice and Comment Requirements

   133.        CMS recognized that the Administrative Procedure Act, 5 U.S.C. § 553, and the

Social Security Act, 42 U.S.C. 1395hh(b)(1), ordinarily require notice and a comment period

before a rule like this one takes effect. 86 Fed. Reg. at 61,583. But CMS “believe[d] it would be

impracticable and contrary to the public interest . . . to undertake normal notice and comment

procedures.” Id. at 61,586. It thus found “good cause to waive” those procedures. Id.

   134.        Trying to justify its good cause finding, CMS stated that “[t]he data showing the

vital importance of vaccination” indicates that it “cannot delay taking this action.” Id. at 61,583.

But CMS did not reconcile that finding with its acknowledgement that “the effectiveness of the

vaccine[s] to prevent disease transmission by those vaccinated [is] not currently known.” Id. at

61,615.

   135.        Central to CMS’s “good cause” finding—and its justification for the broader

mandate itself—was the public health threat posed by the Delta variant and the vaccines’ alleged

effectiveness against that variant. See Biden, 142 S. Ct. at 651 (“That good cause was, in short,

the Secretary’s belief that any ‘further delay’ would endanger patient health and safety given the


                                                  31
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 32 of 83 PageID #: 564




spread of the Delta variant and the upcoming winter season.”). Consider the depth of CMS’s

reliance on the Delta variant (with emphasis added):

       Emerging evidence also suggests that vaccinated people who become infected with the
       SARS-CoV-2 Delta variant have potential to be less infectious than infected unvaccinated
       people, thus decreasing transmission risk. 86 Fed. Reg. at 61,558.

       COVID-19 case rates among [healthcare] staff have also grown in tandem with broader
       national incidence trends since the emergence of the Delta variant. Id. at 61,559.

       Vaccination is thus a powerful tool for protecting health and safety of patients, and, with
       the emergence and spread of the highly transmissible Delta variant, it has been an
       increasingly critical one to address the extraordinary strain the COVID-19 pandemic
       continues to place on the U.S. health system. Id.

       While COVID-19 cases, hospitalizations, and deaths declined over the first 6 months of
       2021, the emergence of the Delta variant reversed these trends. Id.

       In a recent study of reported COVID-19 cases, hospitalizations, and deaths in 13 U.S.
       jurisdictions that routinely link case surveillance and immunization registry data, CDC
       found that unvaccinated individuals accounted for over 85 percent of all hospitalizations
       in the period between June and July 2021, when Delta became the predominant circulating
       variant. Id.

       Moreover, available evidence suggests that these vaccines offer protection against known
       variants, including the Delta variant . . . , particularly against hospitalization and death.
       Id. at 61,565.

       [T]he COVID-19 pandemic presents a serious and continuing threat to the health and to
       the lives of staff of health care facilities and of consumers of these providers’ and suppliers’
       services. This threat has grown to be particularly severe since the emergence of the Delta
       variant. Id. at 61,567.

       The 2021 outbreaks associated with the SARS-Cov-2 Delta variant have shown that
       current levels of COVID-19 vaccination coverage up until now have been inadequate to
       protect health care consumers and staff. Id. at 61,583.

       Over the first 6 months of 2021, COVID-19 cases, hospitalizations and deaths declined.
       The emergence of the Delta variant reversed these trends. Id.

       [A] combination of factors now have persuaded us that a vaccine mandate for health care
       workers is an essential component of the nation’s COVID-19 response . . . . These include,
       but are not limited to, the following: Failure to achieve sufficiently high levels of
       vaccination based on voluntary efforts and patchwork requirements; ongoing risk of new
       COVID-19 variants; potential harmful impact of unvaccinated healthcare workers on

                                                 32
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 33 of 83 PageID #: 565




        patents; continuing strain on the healthcare system, particularly from Delta-variant-driven
        surging case counts beginning in summer 2021; demonstrated efficacy, safety and real-
        world effectiveness of available vaccines; FDA’s full licensure of the Pfizer-BioNTech’s
        Comirnaty vaccine; our observations of the efficacy of COVID-19 vaccine mandates in
        other settings; and the calls from numerous stakeholders for Federal intervention. Id. at
        61,584.

        COVID-19 case rates among [healthcare] staff have also grown in tandem with broader
        national incidence trends since the Delta variant’s emergence. Id. at 61,585.

        Vaccines continue to be effective in preventing COVID-19 associated with the now-
        dominant Delta variant. Id.

        Emerging evidence also suggest that vaccinated people who become infected with Delta
        have potential to be less infectious than infected unvaccinated people, thus decreasing
        transmission risk. Id.

        Given the emergency situation with respect to the Delta variant detailed more fully above,
        the time did not permit usual consultation procedures with the States, and such consultation
        would therefore be impracticable. Id. at 61,613.

    136.         When CMS issued its vaccine mandate on November 5, 2021, the Delta variant was

the prominent strain of the virus, accounting for approximately 98% to 99% of all reported cases

in the United States. See CDC COVID Data Tracker, Variant Proportions, https://covid.cdc.gov/

covid-data-tracker/#variant-proportions (updated Feb. 22, 2022, looking at data for the week

ending November 20, 2021).

    137.         CMS also asserted that it must immediately implement the vaccine mandate

because “the 2021–2022 influenza season” will soon begin. 86 Fed. Reg. at 61,584. CMS offered

this justification while simultaneously admitting that “the intensity of the upcoming 2021–2022

influenza season cannot be predicted” and that “influenza activity during the 2020–2021 season

was low throughout the U.S.” Id.

    138.         In claiming that it must immediately implement the vaccine mandate, CMS ignored

that it waited almost two months after President Biden’s directive before it promulgated the IFC

to the public.

                                                33
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 34 of 83 PageID #: 566




                 CMS’s Cited Statutory Authority for the Vaccine Mandate

   139.        CMS’s alleged statutory authority for its vaccine mandate rests on two sets of laws.

Id. at 61,567. First, it relies on two statutes that grant general rulemaking power to HHS. Id.

Second, it relies on more specific statutes that purportedly give it authority to apply the vaccine

mandate to the specific covered classes of healthcare facilities. Id.

   140.        The two statutes that grant general rulemaking power to HHS are in the Social

Security Act. The first—42 U.S.C. § 1302(a)—provides that “the Secretary of Health and Human

Services . . . shall make and publish such rules and regulations, not inconsistent with this chapter,

as may be necessary to the efficient administration of the functions with which [he] is charged

under this Act.” The second—42 U.S.C. § 1395hh(a)(1)—states that the “Secretary shall prescribe

such regulations as may be necessary to carry out the administration of the insurance programs

under” Title 18 of the Social Security Act (Medicaid). These statutes do not establish that the

Secretary may mandate vaccines.

   141.        CMS cites one specific statute to support its inclusion of Psychiatric Residential

Treatment Facilities (“PRTFs”) in the vaccine mandate.                  That statute—42 U.S.C. §

1396d(h)(1)(B)(i)—defines the term “inpatient psychiatric hospital services for individuals under

age 21” to “include[] only . . . inpatient services which . . . involve active treatment which meets

such standards as may be prescribed in regulations by the Secretary.” This statute implies that the

Secretary may create regulations setting “standards” for the “active treatment” of individuals under

age 21 needing inpatient psychiatric services. But this statute does not establish that the Secretary

may impose mandatory vaccines on the staff at PRTFs.

   142.        CMS cites one specific statute to support its inclusion of Intermediate Care

Facilities for Individuals with Intellectual Disabilities (“ICFs-IID”) in the vaccine mandate. That


                                                 34
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 35 of 83 PageID #: 567




statute—42 U.S.C. § 1396d(d)(1)—defines those facilities to mean an institution whose “primary

purpose . . . is to provide health or rehabilitative services for [intellectually disabled] individuals”

if “the institution meets such standards as may be prescribed by the Secretary.” This statute implies

that the Secretary may create standards concerning the kinds of “health or rehabilitative services”

the facility provides. But this statute does not establish that the Secretary may impose mandatory

vaccines on the staff at ICFs-IID.

    143.        CMS cites one specific statute to support its inclusion of Critical Access Hospitals

(“CAHs”) in the vaccine mandate. That statute—42 U.S.C. § 1395i–4(e)—says that “[t]he

Secretary shall certify a facility as a critical access hospital if the facility—(1) is located in a State

that has established a medicare rural hospital flexibility program . . . ; (2) is designated as a critical

access hospital by the State in which it is located; and (3) meets such other criteria as the Secretary

may require.” This statute implies that the Secretary may create “other criteria” similar to the two

expressly listed requirements. But this statute does not establish that the Secretary may impose

mandatory vaccines on the staff at CAHs.

    144.        CMS cites one specific statute to support its inclusion of End-Stage Renal Disease

(“ESRD”) facilities in the vaccine mandate. That statute—42 U.S.C. § 1395rr(b)(1)(A)—author-

izes payments for end-stage renal disease services to “providers of services and renal dialysis

facilities which meet such requirements as the Secretary shall by regulation prescribe for

institutional dialysis services and supplies . . . , transplantation services, self-care home dialysis

support services which are furnished by the provider or facility, and routine professional services

performed by a physician during a maintenance dialysis episode . . . .” This statute acknowledges

that the Secretary may create “requirements” for “institutional dialysis services,” “transplantation




                                                   35
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 36 of 83 PageID #: 568




services,” and the like. But this statute does not establish that the Secretary may impose mandatory

vaccines on the staff at ESRD facilities.

   145.        CMS cites a few specific statutes to support its inclusion of Ambulatory Surgical

Centers (“ASCs”) in the vaccine mandate. The main statute that CMS cites—42 U.S.C. §

1395k(a)(2)(F)(i)—provides that Medicaid benefits shall include payments for “services furnished

in connection with surgical procedures specified by the Secretary . . . performed in an ambulatory

surgical center (which meets health, safety, and other standards specified by the Secretary in

regulations).” Though this statute implies that the Secretary may create regulations setting “health,

safety, and other standards,” it does not establish that the Secretary’s regulatory power is so broad

that he may mandate vaccines.

   146.        CMS cites two specific statutes to support its inclusion of Programs of All-Inclusive

Care for the Elderly (“PACE”) facilities in the vaccine mandate.           The first—42 U.S.C. §

1395eee(f)—provides that “[t]he Secretary shall issue interim final or final regulations to carry out

this section,” and that “[n]othing in this subsection shall be construed as preventing the Secretary

from including in regulations provisions to ensure the health and safety of individuals enrolled in

a PACE program.” The second—42 U.S.C. § 1396u–4(f)—is materially indistinguishable in its

relevant language. Though these statutes authorize the Secretary to adopt some health- and safety-

related regulations, they do not establish that the Secretary’s regulatory power is so broad that he

may mandate vaccines.

   147.        CMS cites a few specific statutes to support its inclusion of Rural Health Clinics

(“RHCs”) in the vaccine mandate.            The primary statute that CMS cites—42 U.S.C. §

1395x(aa)(2)(K)—defines the term “rural health clinic” to “mean[] a facility which,” among

certain qualifying factors, “meets such other requirements as the Secretary may find necessary in


                                                 36
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 37 of 83 PageID #: 569




the interest of the health and safety of the individuals who are furnished services by the clinic.”

The expressly listed qualifying factors include the types of services provided, staff qualifications,

medication requirements, and administrative matters. They do not include vaccination. This

statute thus does not give the Secretary the power to mandate vaccines.

   148.        CMS cites one specific statute to support its inclusion of Home Infusion Therapy

(“HIT”) Suppliers in the vaccine mandate. That statute—42 U.S.C. § 1395x(iii)(3)(D)(i)(IV)—

defines the term “qualified home infusion therapy supplier” to “mean[] a pharmacy, physician, or

other provider of services or supplier” that, among certain qualifying factors, “meets such other

requirements as the Secretary determines appropriate, taking into account the standards of care for

home infusion therapy established by Medicare Advantage plans under part C and in the private

sector.” The expressly listed qualifying factors include the types of services provided and staff

qualifications. They do not include vaccination. This statute thus does not give the Secretary the

power to mandate vaccines.

   149.        CMS cites one specific statute to support its inclusion of facilities that provide

outpatient physical therapy and speech-language pathology services in the vaccine mandate. That

statute—42 U.S.C. § 1395x(p)(4)(A)(v)—defines “outpatient physical therapy services” to

exclude services “furnished by a clinic or rehabilitation agency” that does not, among certain

qualifying factors, “meet[] such other conditions relating to the health and safety of individuals

who are furnished services by such clinic or agency on an outpatient basis, as the Secretary may

find necessary.” The expressly listed qualifying factors include the types of services provided,

staff qualifications, and administrative matters. They do not include vaccination. This statute thus

does not give the Secretary the power to mandate vaccines.




                                                 37
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 38 of 83 PageID #: 570




   150.        CMS cites a few specific statutes to support its inclusion of Community Mental

Health Centers (“CMHCs”) in the vaccine mandate. The primary statute that CMS cites—42

U.S.C. § 1395x(ff)(3)(B)—defines a “community mental health center” to “mean[] an entity that,”

among certain qualifying factors, “meets such additional conditions as the Secretary shall specify

to ensure . . . the health and safety of individuals being furnished such services.” The expressly

listed qualifying factors include the types of services provided, staff qualifications, and admini-

strative matters. They do not include vaccination. This statute thus does not give the Secretary

the power to mandate vaccines.

   151.        CMS cites one specific statute to support its inclusion of hospitals in the vaccine

mandate. That statute—42 U.S.C. § 1395x(e)(9)—defines the term “hospital” to “mean[] an

institution which,” among certain qualifying factors, “meets such other requirements as the

Secretary finds necessary in the interest of the health and safety of individuals who are furnished

services in the institution.” The expressly listed qualifying factors include the types of services

provided, staff qualifications, and administrative matters. They do not include vaccination. This

statute thus does not give the Secretary the power to mandate vaccines.

   152.        CMS cites one specific statute to support its inclusion of hospices in the vaccine

mandate. That statute—42 U.S.C. § 1395x(dd)(2)(G)—says that “[t]he term ‘hospice program’

means a public agency or private organization (or a subdivision thereof) which,” among certain

qualifying factors, “meets such other requirements as the Secretary may find necessary in the

interest of the health and safety of the individuals who are provided care and services by such

agency or organization.” The expressly listed qualifying factors include the types of services

provided, staff qualifications, and administrative matters. They do not include vaccination. This

statute thus does not give the Secretary the power to mandate vaccines.


                                                38
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 39 of 83 PageID #: 571




    153.        CMS cites one specific statute to support its inclusion of Comprehensive Outpatient

Rehabilitation Facilities (CORFs) in the vaccine mandate.               That statute—42 U.S.C. §

1395x(cc)(2)(J)—provides that “[t]he term ‘comprehensive outpatient rehabilitation facility’

means a facility which,” among certain qualifying factors, “meets such other conditions of

participation as the Secretary may find necessary in the interest of the health and safety of

individuals who are furnished services by such facility, including conditions concerning

qualifications of personnel in these facilities.” The expressly listed qualifying factors include the

types of services provided, staff qualifications, and administrative matters. They do not include

vaccination. This statute thus does not give the Secretary the power to mandate vaccines.

    154.        CMS cites two specific statutes to support its inclusion of long-term-care (“LTC”)

facilities in the vaccine mandate. The first—42 U.S.C. § 1395i–3(d)(4)(B)—states that “[a] skilled

nursing facility must meet such other requirements relating to the health, safety, and well-being of

residents or relating to the physical facilities thereof as the Secretary may find necessary.” The

second—42 U.S.C. § 1396r(d)(4)(B)—likewise provides that “[a] nursing facility must meet such

other requirements relating to the health and safety of residents or relating to the physical facilities

thereof as the Secretary may find necessary.” The expressly listed qualifying factors include the

types of services provided, staff qualifications, licensing requirements, sanitation issues, and

administrative matters. They do not include vaccination. These statutes thus do not give the

Secretary the power to mandate vaccines.

    155.        CMS cites a few specific statutes to support its inclusion of Home Health Agencies

(“HHAs”) in the vaccine mandate. The first—42 U.S.C. § 1395x(o)(6)—defines a “home health

agency” to “mean[] a public agency or private organization, or a subdivision of such an agency or

organization, which,” among certain qualifying factors that do not include vaccination


                                                  39
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 40 of 83 PageID #: 572




requirements, “meets the conditions of participation specified in [42 U.S.C. § 1395bbb(a)] and

such other conditions of participation as the Secretary may find necessary in the interest of the

health and safety of individuals who are furnished services by such agency or organization.” The

second—42 U.S.C. § 1395bbb—outlines various “conditions of participation that a home health

agency is required to meet,” none of which include vaccination requirements. See 42 U.S.C. §

1395bbb(a). That statute also says that “[i]t is the duty and responsibility of the Secretary to assure

that the conditions of participation and requirements specified in or pursuant to [42 U.S.C. §

1395x(o)] and subsection (a) of this section and the enforcement of such conditions and

requirements are adequate to protect the health and safety of individuals under the care of a home

health agency.” 42 U.S.C. § 1395bbb(b). While these statutes give the Secretary authority to

protect the health and safety of people served by HHAs, they do not give the Secretary the power

to mandate vaccines.

       The CMS Vaccine Mandate Entirely Failed to Account for Important Known
              Contingencies that Have Rendered the Mandate Irrational

   156.        When CMS issued the mandate, the agency knew that new SARS-CoV-2 variants

would continue to arise. See, e.g., 86 Fed. Reg. at 61,583 (discussing “the advent of the Delta

variant and the potential for new variants”); id at 61,584 (recognizing the “ongoing risk of new

COVID-19 variants”). Specifically, CMS knew that “Delta may be overtaken by other virus muta-

tions.” Id. at 61,609.

   157.        When CMS issued the mandate, the agency knew that new SARS-CoV-2 variants

could change the trajectory of the pandemic, the risk of the virus, and the rationale for the mandate.

See, e.g., id. at 61,559 (“While COVID-19 cases, hospitalizations, and deaths declined over the

first 6 months of 2021, the emergence of the Delta variant reversed these trends.”); id. at 61,583

(“Over the first 6 months of 2021, COVID-19 cases, hospitalizations and deaths declined. The

                                                  40
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 41 of 83 PageID #: 573




emergence of the Delta variant reversed these trends.”); id. at 61,610 n.248 (noting that “another

variant of the vaccine might arise and create new risks or shifts in risks within the U.S.”).

   158.        When CMS issued the mandate, the agency knew that the COVID-19 vaccines are

less effective against certain variants. For example, CMS recognized that the available vaccines

had shown less effectiveness against the Delta variant than against the original variants. See, e.g.,

id. at 61,565 (acknowledging that one of CMS’s relied-upon studies shows that “vaccine

effectiveness point estimates did decline over the course of the study as the Delta variant became

predominant”).

   159.        When CMS issued the mandate, the agency knew about “the possibility of new

virus variants that reduce the effectiveness of currently authorized and approved vaccines.” Id. at

61,602.

   160.        Despite knowing all this, CMS adopted a rigid one-size-fits-all rule that did not

account for the advent of a new dominant variant against which the vaccines are ineffective at

stopping transmission.

   161.        The Delta variant has effectively disappeared in the United States, and it has been

replaced by the milder Omicron variant, which now accounts for 100% of COVID-19 cases in the

country. CDC COVID Data Tracker, Variant Proportions, https://covid.cdc.gov/covid-data-

tracker/#variant-proportions (updated Feb. 22, 2022).

   162.        The Omicron variant was first detected in the United States on December 1, 2021,

after adoption of the CMS vaccine mandate. CDC, Omicron Variant: What You Need to Know,

https://www.cdc.gov/coronavirus/2019-ncov/variants/omicron-variant.html (updated Feb. 2,

2022).




                                                 41
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 42 of 83 PageID #: 574




   163.        Omicron presents a greatly reduced risk of severe health outcomes compared to

Delta. Id. (“Omicron infection generally causes less severe disease than infection with prior

variants.”); A. Danielle Iuliano, Trends in Disease Severity and Health Care Utilization During

the Early Omicron Variant Period Compared with Previous Sars-CoV-2 High Transmission

Periods — United States, December 2020 – January 2022, CDC Morbidity and Mortality Weekly

Report (Jan. 28, 2022), https://www.cdc.gov/mmwr/volumes/71/wr/mm7104e4.htm?s_cid=

mm7104e4_w (“[D]isease severity indicators, including length of stay, ICU admission, and death,

were lower [with Omicron] than during previous pandemic peaks”); Aziz Sheikh et al., Severity of

Omicron variant of concern and vaccine effectiveness against symptomatic disease: national

cohort with nested test negative design study in Scotland, The University of Edinburgh (Dec. 22,

2021),    https://www.research.ed.ac.uk/en/publications/severity-of-omicron-variant-of-concern-

and-vaccine-effectiveness- (Scotland’s data revealed that “Omicron is associated with a two-thirds

reduction in the risk of COVID-19 hospitalisation when compared to Delta.”).

   164.        CDC Director Rochelle Walensky has acknowledged that the Omicron variant is

far less severe than Delta. CDC’s Walensky cites study showing Omicron has 91% lower risk of

death than Delta, Yahoo News (Jan. 12, 2022), https://news.yahoo.com/cdc-walensky-cites-study-

showing-173151295.html?guccounter=1 (“[W]e are seeing early evidence that [O]micron is less

severe than [D]elta and that those infected are less likely to require hospitalization”).

   165.        National Institute of Allergy and Infectious Diseases (“NIAID”) Director Dr.

Anthony Fauci has recognized the greatly reduced risk of severe health outcomes with Omicron:

“In the United States, we are getting accumulation of data. The spike in cases is out of proportion

to the increase in hospitalization. So, if one looks at 14-day averages, the data, as of last night,

indicate a plus 126 percent increase in cases [but only] an 11 percent increase in hospitalizations.


                                                 42
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 43 of 83 PageID #: 575




Now, we must remember that hospitalizations and deaths are lagging indicators. However, the

pattern and disparity between cases and hospitalization strongly suggest that there will be a lower

hospitalization-to-case ratio when the situation becomes more clear.” Press Briefing by White

House COVID-19 Response Team and Public Health Officials, The White House (Dec. 29, 2021),

https://www.whitehouse.gov/briefing-room/press-briefings/2021/12/29/press-briefing-by-white-

house-covid-19-response-team-and-public-health-officials-76/.

   166.          The available COVID-19 vaccines are ineffective in preventing transmission of the

Omicron variant. Indeed, research shows that the standard COVID-19 vaccines without boosters

provide practically no protection against transmission of the Omicron variant. No Omicron

immunity    without     booster,   study   finds,        The   Harvard   Gazette   (Jan.   7,    2022),

https://news.harvard.edu/gazette/story/2022/01/no-omicron-immunity-without-booster-study-

finds/ (“[T]raditional dosing regimens of COVID-19 vaccines available in the United States do not

produce antibodies capable of recognizing and neutralizing the Omicron variant.”).

   167.          The CDC acknowledges that “anyone with Omicron infection can spread the virus

to others, even if they are vaccinated.” CDC, Omicron Variant: What You Need to Know, supra.

The CDC also recognizes that “breakthrough infections in people who are vaccinated are likely to

occur” with Omicron. Id.

   168.          The CDC’s initial data on the Omicron variant demonstrated that the existing

vaccines are not effective at preventing transmission. Mrinalika Roy, Most reported U.S. Omicron

cases have hit the fully vaccinated – CDC, Reuters (Dec. 10, 2021), https://www.reuters.com/

world/us/most-reported-us-omicron-cases-have-hit-fully-vaccinated-cdc-2021-12-10/               (“[CDC]

said that of the 43 [initial] cases attributed to Omicron variant, 34 people had been fully

vaccinated.”).


                                                    43
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 44 of 83 PageID #: 576




   169.        Pfizer and BioNTech, the manufacturers of the leading COVID-19 vaccine in the

United States, have admitted that their two-dose vaccine “may not be sufficient to protect against

infection with the Omicron variant.” Pfizer and BioNTeach Provide Update on Omicron Variant,

Pfizer Press Release (Dec. 8, 2021), https://www.pfizer.com/news/press-release/press-release-

detail/pfizer-and-biontech-provide-update-omicron-variant.

   170.        Moderna, the manufacturer of the second leading COVID-19 vaccine in the United

States, has similarly admitted that people who have received its two-dose vaccine “had low

neutralizing antibody levels in the Omicron [pseudovirus neutralization titer] assay prior to

boosting.” Moderna Announces Preliminary Booster Data and Updates Strategy to Address

Omicron Variant, Moderna (Dec. 20, 2021), https://investors.modernatx.com/news/news-

details/2021/Moderna-Announces-Preliminary-Booster-Data-and-Updates-Strategy-to-Address-

Omicron-Variant/default.aspx.

   171.        NIH-funded researchers at Duke University confirmed that “neutralizing titers to

Omicron are 49-84 times lower than neutralization titers to [prior SARS-CoV2 variants] after 2

doses of [the Moderna vaccine], which could lead to an increased risk of symptomatic

breakthrough infections.” Nicole A. Doria-Rose et al., Booster of mRNA-1273 Vaccine Reduces

SARS-CoV-2 Omicron Escape from Neutralizing Antibodies, medRxiv (Dec. 20, 2021),

https://www.medrxiv.org/content/10.1101/2021.12.15.21267805v2.

   172.        While Omicron caused a spike in COVID-19 cases in the United States throughout

December and January, case counts have fallen precipitously. CDC, Trends in Number of Covid-

19 Cases and Deaths in the US Reported to CDC, by State/Territory, https://covid.cdc.gov/

covid-data-tracker/#trends_dailycases. The CDC reports that daily COVID-19 cases in the United

States reached their peak at 1,335,999 cases on January 10, 2022. Id. (reviewing data available on


                                               44
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 45 of 83 PageID #: 577




February 23, 2022). But that number plummeted to 90,265 by February 6, 2022, and 26,104 by

February 20, 2022. Id. (reviewing the data available on February 23, 2022).

          Additional Facts Demonstrating that the Mandate Imposes Great Burdens

   173.           Recent events have proven that healthcare worker crisis is getting worse and that

the CMS vaccine mandate is imposing onerous and unnecessary burdens on the Plaintiff States

and healthcare providers.

   174.           While the CMS mandate was preliminarily enjoined, several of the nation’s largest

healthcare providers that had previously implemented a vaccine mandate suspended the

requirement because it exacerbated existing labor shortages. Robbie Whelan & Melanie Evans,

Some Hospitals Drop Covid-19 Vaccine Mandates to Ease Labor Shortages, Wall St. J. (Dec. 13,

2021), https://on.wsj.com/3ojiwW8.

   175.           Multiple governors have requested that CMS grant them broader exemptions from

the CMS vaccine mandate because of the acute labor shortages in rural areas. John Raby & Sarah

Rankin, Youngkin, Justice Seek Relief From Health Worker Vax Rule, U.S. News and World

Report (Jan. 21, 2022), https://www.usnews.com/news/best-states/west-virginia/articles/2022-01-

31/w-va-seeks-covid-shot-waiver-for-rural-hospital-workers.

   176.           The CDC has recognized severe staffing shortages by issuing new guidance that

permits Covid-19-positive employees to return to work even if they are still testing positive, while

the CMS vaccine mandate prohibits COVID-19-negative unvaccinated employees from working

in covered facilities at all, unless they obtain a medical or religious exemption. CDC, Interim

Guidance for Managing Healthcare Personnel with SARS-CoV-2 Infection or Exposure to SARS-

CoV-2     (Jan.     21,   2022),   https://www.cdc.gov/coronavirus/2019-ncov/hcp/guidance-risk-

assesment-hcp.html.


                                                 45
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 46 of 83 PageID #: 578




   177.        States that have previously implemented a vaccine mandate for healthcare workers

have experienced adverse consequences. For instance, since New York’s mandate on healthcare

workers took effect in October 2021, “31,858 health care workers at nursing homes, hospitals and

other health providers have been terminated, furloughed or forced to resign because they would

not comply with the mandate.” Emma Colton, Termination of unvaccinated health care workers

backfires as Biden pledges help amid COVID surge, Fox News (Dec. 28, 2021),

https://www.foxnews.com/us/terminated-health-care-workers-joe-biden-vaccine-mandates-

national-guard (emphasis added). Not surprisingly, New York’s vaccine mandate for healthcare

workers resulted in a reduction in healthcare services in the State. See, e.g., Long Island hospital

temporarily closing ER, ABC 7 New York (Nov. 22, 2021), https://www.msn.com/en-

us/health/medical/long-island-hospital-temporarily-closing-er-due-to-nursing-staff-shortages-

amid-vaccine-mandate/ar-AAR0C5t (“The emergency department at a Nassau County hospital has

temporarily closed due to nursing staff shortages as a result of New York’s vaccine mandate.”).

   178.        After CMS issued its vaccine mandate, the Missouri Department of Health and

Senior Services (“DHSS”) issued an emergency amendment to Mo. Code Regs. Ann. tit. 19, § 30-

82.010. See Emergency Amendment, Missouri Department of Health and Senior Services (Nov.

10, 2021), https://www.sos.mo.gov/CMSImages/AdRules/main/EmergenciesforInternet/19c30-

82.010IE.pdf. According to DHSS, approximately 44% of staff working at Missouri’s long-term-

care facilities are not fully vaccinated. Id. DHSS anticipates that “many of the [44%] of

unvaccinated staff working at these long term facilities will not choose to get vaccinated, even

with this vaccine mandate from CMS.” Id. DHSS thus predicts that because of the CMS vaccine

mandate, some long-term-care facilities—namely, skilled nursing facilities and intermediate care

facilities—“will not have enough staff to care for the residents in their facilities and be in


                                                46
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 47 of 83 PageID #: 579




compliance with federal and state law.” Id. The emergency amendment thus creates a temporary

closure procedure for facilities should they need to “make plans to begin discharging residents and

pursing temporary closures before” CMS’s deadlines. Id. The temporary closure option enables

the facilities to keep their license so that there will not be unnecessary licensure delays if they are

able to reopen in the future.

   179.        Since CMS announced on January 14, 2022, that the deadline for the first vaccine

doses in the Plaintiff States would be February 14, 2022, DHSS has received closure plans from

three facilities in Missouri. One of those facilities has already closed, and its residents have been

displaced.

   180.        In addition, the State of Nebraska received notice on January 13, 2022—the day of

the Supreme Court’s ruling—that a skilled nursing facility in rural Hooper, Nebraska will be

closing in March 2022 because of staffing issues. And Nebraska received notice on February 22,

2022, that another nursing facility in Mullen, Nebraska will be closing in April 2022 because of

the increasing challenges of operating a nursing facility in a small rural area.

   181.        When discussing the CMS mandate, Jalene Carpenter, president and CEO of the

Nebraska Health Care Association, recently said: “We are at a tipping point in the [healthcare

staffing] crisis [so] that every team member, literally every single one, is crucial. . . . And any

loss of any team member can be devastating.” Julie Anderson, Nebraska hospitals, nursing homes

prepare to meet vaccine mandate, Omaha World-Herald (Feb. 5, 2022), https://omaha.com/

lifestyles/health-med-fit/nebraska-hospitals-nursing-homes-prepare-to-meet-vaccine-mandate/

article_b593321e-8449-11ec-a389-771fd79afeee.html.

   182.        The CMS vaccine mandate is making it particularly difficult for healthcare pro-

viders in the Plaintiff States to keep adequate staff in nonmedical positions such as housekeeping,


                                                  47
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 48 of 83 PageID #: 580




cleaning, information technology, accounting, and kitchen staff. Those nonmedical employees

can move into countless other industries if they want to avoid the CMS vaccine mandate. For

example, a hospital’s housekeeper can get a job at a hotel down the street. Thus, healthcare

facilities are struggling to keep adequate nonmedical staff to support their ongoing operations. The

federal government’s withdrawal of the OSHA ETS exacerbated this problem because businesses

in many industries outside the healthcare field do not mandate COVID-19 vaccines.

    183.        The administrative burden that the CMS vaccine mandate imposes on healthcare

providers is difficult to overstate. Troy Bruntz—the President and Chief Executive Officer of

Community Hospital in rural McCook, Nebraska—“said he has roughly 30 people working on

various aspects of complying with the mandate. ‘I hate to say we don’t have time for this right

now,’ he said, ‘but we don’t have time for this right now.’” Id.

    184.        Among those burdens is the need for covered healthcare providers to track not only

their own staff’s vaccination status but also the vaccination status of their contractors and vendors.

Bruntz expressed concerns that the mandate “could make it difficult to hire contractors who can

supply vaccinated workers to complete jobs.” Id. This complicates not only large-scale construc-

tion jobs or smaller renovations but also the most routine tasks, such as scheduling regular visits

from the healthcare facility’s copier repair vendor or water delivery service. This burden on the

healthcare providers is exacerbated by the federal government’s withdrawal of the OSHA ETS

because many of the vendors for these healthcare facilities are not under a vaccine mandate. Worse

yet, if healthcare facilities cannot hire a vendor, they need to bring those services in house, but that

only compounds the nonmedical personnel hiring challenges discussed above.

    185.        Many of the 10,132 comments submitted in response to the IFC, which were due

by January 4, 2022, highlight how difficult compliance is. Even comments supportive of the rule


                                                  48
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 49 of 83 PageID #: 581




point out that compliance is extremely burdensome—if not impossible. See, e.g., Letter of

Spectrum Health, https://www.regulations.gov/comment/CMS-2021-0168-1491                 (requesting

changes to the mandate on behalf of a large healthcare system that employs 31,000 people).

          Other Core Circumstances Have Changed Since CMS Issued the Mandate

   186.        Recently released CDC data shows that “[b]y early October [2021], persons who

survived a previous [COVID-19] infection” (and thus have natural immunity) “had lower case

rates than persons who were vaccinated alone.” Tomás M. León et al., COVID-19 Cases and

Hospitalizations by COVID-19 Vaccination Status and Previous COVID-19 Diagnosis —

California and New York, May – November 2021, CDC Morbidity and Mortality Weekly Report

(Jan. 28, 2022), https://www.cdc.gov/mmwr/volumes/71/wr/mm7104e1.htm. This directly under-

mines CDC’s claim in the IFR that natural immunity is inferior to vaccine immunity.

   187.        Recently published data also calls into question the effectiveness of the vaccines in

preventing transmission of the Delta variant, particularly over time. See, e.g., David W. Eyre, et

al., Effect of Covid-19 Vaccination on Transmission of Alpha and Delta Variants, New England J.

of Med. (Jan. 5, 2022) (“Vaccination was associated with a smaller reduction in transmission of

the delta variant than of the alpha variant, and the effects of vaccination decreased over time.”);

id. (“[S]imilar viral loads in vaccinated and unvaccinated persons who are infected with the delta

variant call into question the degree to which vaccination prevents transmission.”).

                  Legal Proceedings Concerning the CMS Vaccine Mandate

   188.        On November 29, 2021, this Court preliminarily enjoined the CMS vaccine

mandate in the Plaintiff States.

   189.        On December 13, 2021, the Eighth Circuit denied Defendants’ motion to stay the

preliminary injunction pending appeal.


                                                49
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 50 of 83 PageID #: 582




   190.        On January 13, 2022, the Supreme Court stayed the preliminary injunction pending

disposition of Defendants’ appeal. Biden v. Missouri, 142 S. Ct. 647 (2022) (per curiam).

   191.        One day after the Supreme Court entered its stay, CMS resumed enforcement of its

vaccine mandate in the Plaintiff States, requiring healthcare workers to receive the first dose of a

COVID-19 vaccine by February 14, 2022, and to be fully vaccinated by March 15, 2022. See

CMS, Guidance for the Interim Final Rule, supra.

   192.        But despite the dire emergency that CMS asserted in claiming good cause to bypass

notice and comment and in seeking an immediate stay from the Supreme Court, CMS is delaying

full enforcement of its vaccine mandate in the Plaintiff States until the middle of April 2022. Id.

In particular, the agency told covered facilities in the Plaintiff States that they would not face

enforcement action until the middle of April 2022 so long as they maintain a certain percentage of

compliance beginning February 14, 2022, and they have a plan to achieve full compliance by the

middle of April 2022. Id.

          The CMS Vaccine Mandate Harms the Plaintiff States and their Citizens

   193.        The CMS vaccine mandate directly injures the Plaintiff States.

   194.        The Plaintiff States are parties to Medicaid agreements with HHS. But the CMS

vaccine mandate seeks to transform that agreement in drastic ways far beyond any terms that the

States have accepted.

   195.        The Plaintiff States operate state-run healthcare facilities that receive Medicare and

Medicaid funding. They are thus required to impose the mandate on their own state employees.

   196.        The Plaintiff States’ surveyors are state employees who enforce Medicare and

Medicaid compliance. The CMS vaccine mandate seeks to commandeer those state employees to




                                                50
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 51 of 83 PageID #: 583




become enforcers of CMS’s unlawful attempt to federalize national vaccine policy and override

the States’ police power on matters of health and safety.

   197.        The CMS vaccine mandate imposes nonrecoverable compliance costs on the

Plaintiff States and healthcare providers in those States.

   198.        By requiring state-run healthcare facilities and state surveyors to enforce the CMS

vaccine mandate, the Plaintiff States will face increased enforcement costs because CMS guidance

requires multiple additional surveys of facilities subject to the mandate and the States have an

obligation to respond to complaints filed against facilities that appear to be out of compliance.

   199.        Surveying is already a costly and complicated endeavor, and it is made even more

so by the CMS vaccine mandate and accompanying guidance.

   200.        By February 14, 2022, state surveyors must ensure that facilities have vaccine

policies in place, that 100% of employees have received at least the first dose of the vaccine or

have been granted an exemption, and that facilities falling short of 100% compliance with that

“first dose” requirement have plans to achieve that benchmark. CMS, Guidance for the Interim

Final Rule, supra.

   201.        By March 15, 2022, states surveyors must ensure that facilities have vaccine

policies in place, that 100% of employees have received all doses of the vaccine or have been

granted an exemption, and that facilities falling short of 100% compliance with that “all dose”

requirement have plans to achieve that benchmark. Id.

   202.        By the middle of April 2022, states surveyors must again survey the facilities to

ensure that 100% of employees have received all doses of the vaccine or have been granted an

exemption.




                                                 51
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 52 of 83 PageID #: 584




    203.       Not only does the vaccine mandate and its accompanying guidance force the

Plaintiff States to increase the number of surveys they must conduct, it also complicates their

existing surveying schedules and requires them to conduct statewide training to facilitate this new

task.

    204.       On February 9, 2022, CMS issued a memorandum addressing States’ “obligations

to survey . . . the entirety of Medicare and Medicaid health and safety requirements.” CMS, State

Obligations to Survey to the Entirety of Medicare and Medicaid Health and Safety Requirements

under the 1864 Agreement (Feb. 9, 2022). That memorandum threatens to withhold money from

States that do not survey compliance with all Medicare and Medicaid requirements: “[A] state that

unilaterally acts to reduce or suspend survey and certification activities in a manner inconsistent

with the Act, regulations[,] and Secretary’s direction does not support their full budgetary Survey

and Certification allocation.” The “reduced” funding will apply “for the current fiscal year and

each successive year until the state resumes full oversight of the entirety of Medicare and Medicaid

regulations.” That memorandum also threatens the Medicare and Medicaid certification of health-

care providers in States with deficient surveying: “The Medicare and Medicaid certification of

providers and suppliers in a State whose oversight process is substantially deficient may be

jeopardized if CMS cannot ensure that the regulatory minimum health and safety standards have

been met.” The Plaintiff States and healthcare facilities in those States thus stand to lose funding

if the States decline to survey for compliance with the vaccine mandate.

    205.       By requiring state-run healthcare facilities and state surveyors to enforce the CMS

vaccine mandate, that mandate directly infringes the Plaintiff States’ sovereign authority.

    206.       The Plaintiff States are injured because the CMS vaccine mandate purports to

preempt their state and local laws on matters of vaccines and the rights of their citizens. This


                                                52
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 53 of 83 PageID #: 585




violates the Plaintiff States’ sovereign right to enact and enforce their laws. It also violates the

Plaintiff States’ sovereign right to exercise their police power on matters such as compulsory

vaccination.

   207.        For example, the CMS vaccine mandate purports to preempt Missouri’s Exec.

Order No. 21-10 § 3 (Oct. 28, 2021) (Gov. Parson), which prohibits state agencies from penalizing

individuals or businesses for non-compliance with any federal COVID-19 vaccine mandate if the

“non-compliance is the result of an individual’s sincerely held religious belief or for medical

reasons.”

   208.        Similarly, the CMS vaccine mandate purports to preempt Arkansas statutes,

including Ark. Code § 20-7-143, which is currently in effect and prohibits public entities from

requiring vaccines, and Ark. Code § 11-5-118, which will go into effect in January and requires

private employers give employees a testing option in lieu of vaccination.

   209.        The mandate similarly conflicts with the laws of the State of Alaska. Under the

Alaska Constitution, the State cannot mandate vaccination without running afoul of Alaskans’

fundamental privacy right to make decisions about medical treatment. An individual’s freedom to

make medical decisions for themselves and their children is a fundamental liberty and privacy

right under Article I, Section 22 of the Alaska Constitution. Huffman v. State, 204 P.3d 339, 346

(Alaska 2009). In Huffman, the Alaska Supreme Court held that although the State had a

compelling interest in preventing the spread of contagious diseases, it must use the least restrictive

means to achieve that interest. Id. at 347. In 2021, the State of Alaska enacted a statute that grants

its citizens the right to object to COVID-19 vaccines “based on religious, medical, or other

grounds,” and that forbids any person from “requir[ing] an individual to provide justification or




                                                 53
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 54 of 83 PageID #: 586




documentation to support the individual’s decision to decline a COVID-19 vaccine.” 2021 Alaska

Sess. Laws ch. 2, § 17 (emphasis added).

   210.        The Plaintiff States will suffer other pocketbook injuries. The CMS vaccine

mandate requires covered healthcare facilities to maintain documentation of their staff’s vacci-

nation status. 86 Fed. Reg. at 61,572. That documentation can consist of records from the “State

immunization information system.” Id. A predictable consequence of the CMS vaccine mandate

is thus to increase the number of people seeking documentation from the Plaintiff States regarding

vaccination status. See Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019).

   211.        The Plaintiff States also will incur overtime costs and increased costs related to

termination and reassignment of employees due to the CMS vaccine mandate. The States will

likewise incur costs through their need to recruit new employees in an already tight labor market.

These new personnel, either full-time or contact workers, will be more expensive to hire.

   212.        The Plaintiff States have quasi-sovereign and parens patriae interests in protecting

the rights of their citizens and vindicating them in court. The Plaintiff States thus may sue to

challenge unlawful actions that “affect the [States’] public at large.” In re Debs, 158 U.S. 561,

584 (1895). This includes States taking steps to protect “the health and well-being—both physical

and economic—of its residents in general.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel.,

Barez, 458 U.S. 592, 607 (1982).

   213.        On information and belief, a natural and predictable consequence of the CMS

vaccine mandate is that numerous state and private healthcare workers may be fired, retire, or quit

their jobs. This injures the Plaintiff States’ quasi-sovereign and parens patriae interest in the

health and economic well-being of their citizens. This injury is especially acute because of the

already critical healthcare workforce shortage that the Plaintiff States are experiencing.


                                                 54
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 55 of 83 PageID #: 587




    214.        The CMS vaccine mandate will harm the Plaintiff States and their citizens by

impeding access to healthcare for the underprivileged and the elderly—a complete reversal of the

core objectives of Medicare and Medicaid.

    215.        An exodus of healthcare workers further injures the Plaintiff States in that it will

likely increase the burden on the Plaintiff States’ unemployment insurance funds.

    216.        The Plaintiff States are injured because the CMS vaccine mandate discriminates

between citizens of the Plaintiff States who are vaccinated and those who are not by denying the

latter employment opportunities available to the former. The States have a quasi-sovereign and

parens patriae interests in protecting their citizens from discriminatory policies. See Alfred L.

Snapp & Son, 458 U.S. at 609 (“This Court has had too much experience with the political, social,

and moral damage of discrimination not to recognize that a State has a substantial interest in

assuring its residents that it will act to protect them from these evils.”).

    217.        The CMS vaccine mandate violates the Constitution in multiple ways as explained

below, and the violation of constitutional rights, “for even minimal periods of time, unquestionably

constitutes irreparable injury.” BST Holdings, L.L.C., v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021)

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

    218.        Declaratory relief announcing that the CMS vaccine mandate is unlawful, an

injunction enjoining its enforcement, and an order vacating the IFC will remedy these harms to the

Plaintiff States’ interests.

                                      CLAIMS FOR RELIEF

          COUNT ONE – SUBSTANTIVE VIOLATION OF THE APA
   ARBITRARY AND CAPRICIOUS ACTION NOT IN ACCORDANCE WITH LAW

    219.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.




                                                   55
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 56 of 83 PageID #: 588




   220.        HHS, which includes CMS, is a federal agency subject to the requirements of the

APA.

   221.        CMS’s adoption and promulgation of the vaccine mandate through an IFC was a

major agency action that could not lawfully be conducted without compliance with the APA.

   222.        Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

   223.        The APA forbids federal administrative agencies from relying on post hoc rational-

izations. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1907,

1909 (2020) (holding that it is a “foundational principle of administrative law” to reject an

agency’s “impermissible post hoc rationalizations”).

   224.        CMS’s conclusion that the vaccine mandate is necessary was a post hoc rational-

ization because nearly two months before the IFC issued, President Biden instructed CMS to adopt

a rule mandating vaccination for healthcare workers.

   225.        The APA requires federal administrative agencies to engage in “reasoned decision-

making.” Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 379 (1998) (cleaned up).

Agency action is thus “lawful only if it rests on a consideration of the relevant factors” and

“important aspects of the problem.” Michigan v. EPA, 576 U.S. 743, 750-52 (2015) (cleaned up).

Failing to consider—or arbitrarily rejecting—important factors affecting the efficacy of a policy

renders agency action arbitrary and capricious. See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (“Normally, an agency rule would be arbitrary

and capricious if the agency . . . entirely failed to consider an important aspect of the problem”).




                                                 56
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 57 of 83 PageID #: 589




    226.        CMS did not engage in reasoned decisionmaking in concluding that the vaccine

mandate was necessary to protect patient health and safety and that the mandate will not exacerbate

the endemic staff shortages that already exist for almost all categories of employees at almost all

kinds of health care providers.

    227.        CMS ignored or arbitrarily rejected important aspects of the issue and relevant

factors, including but not limited to the economic impacts on the healthcare industry, labor-force

disruptions in the healthcare industry, loss of jobs in the healthcare industry, costs to States and

their agencies, the current health risks of COVID-19, the admitted current limitations of COVID-

19 vaccines, the acknowledged benefits of natural immunity to COVID-19, and basic distinctions

among workers such as those with natural immunity to COVID-19 and those who work with

limited in-person contacts.

    228.        CMS ignored or arbitrarily rejected the adverse effects of resignations among

unvaccinated healthcare workers, which is a particularly important problem for an economy

already experiencing a critical labor shortage in healthcare, high levels of inflation, and a supply-

chain crisis.

    229.        CMS ignored or arbitrarily rejected the adverse effects of resignations among

unvaccinated healthcare workers, which is a particularly important problem facing rural

communities.

    230.        CMS ignored or arbitrarily rejected the adverse effects on States, which operate

state-run hospitals that participate in Medicare and Medicaid, and which incur costs associated

with enforcing the vaccine mandate, including enforcement through state surveyors.

    231.        CMS ignored or arbitrarily rejected the fact that the vaccine mandate will have a

disparate impact on minority and economically disadvantaged communities that have relatively


                                                 57
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 58 of 83 PageID #: 590




low rates of vaccination by inflicting disproportionately greater unemployment, job losses, loss of

healthcare services, and economic injury on those disadvantaged communities.

   232.        CMS ignored or arbitrarily rejected the interests of healthcare workers who—for

any number of varying personal reasons—do not want to take one of the currently authorized

COVID-19 vaccines.

   233.        CMS ignored that the vaccine mandate will cover religious healthcare institutions

and thus require them to terminate ministerial employees in violation of the First Amendment.

Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2061 (2020).

   234.        CMS ignored that its actions were contrary to law, as they were not authorized by

the Social Security Act, and were also unconstitutional, as the vaccine mandate violates the Tenth

Amendment by invading the States’ police power over compulsory vaccinations.

   235.        CMS acted arbitrarily and capriciously by refusing to provide a testing option for

employees who decline to take one of the available COVID-19 vaccines. This decision arbitrarily

and capriciously conflicts with OSHA’s now-withdrawn ETS, which allowed periodic testing as

an alternative to compulsory vaccines.

   236.        CMS acted arbitrarily and capriciously by refusing to provide an exemption to

persons with natural immunity to COVID-19 because natural immunity is at least as effective as

vaccination in preventing re-infection, transmission, and severe health outcomes.

   237.        CMS’s finding that the vaccine mandate is necessary was pretextual because the

mandate is a blatant attempt to federalize public health issues involving vaccination that belong

within the States’ police power.

   238.        CMS’s finding that the vaccine mandate is necessary was undermined by its delay

in adopting it. Vaccines have been authorized for over a year, yet CMS did not impose this


                                                58
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 59 of 83 PageID #: 591




mandate until two months after it was instructed to do so by the President as part of his “six-point

plan” to federalize public-health policy.

   239.        CMS acted arbitrarily and capriciously by ignoring or unreasonably rejecting the

important reliance interests of many institutions and individuals in the Plaintiff States. These

reliance interests are longstanding and deep-seated since the federal government has never before

tried to impose a vaccine requirement on healthcare workers. These specific reliance interests

include (1) the State’s reliance interests in their healthcare providers continuing to operate under

the existing rules without facing this new mandate that threatens to cause significant harm to the

States’ citizens, particularly those in rural communities; (2) healthcare providers’ similar reliance

interests in staffing their facilities under the existing rules without facing this new mandate that

threatens their workforce, the services they provide, and their very existence; and (3) healthcare

workers’ reliance interests, especially the interests of minority workers in rural communities, in

selecting a job and building a career under the existing rules.

   240.        The broad scope of healthcare providers covered by the CMS vaccine mandate is

arbitrary and capricious. The mandate reaches many categories of healthcare facilities, such as

psychiatric residential treatment facilities for individual under 21 years of age, see 86 Fed. Reg. at

61576, that are not related to CMS’s asserted interest in protecting elderly and infirm patients from

the transmission of COVID-19. Indeed, CMS recognizes that “risk of death from infection from

an unvaccinated 75- to 84-year-old person is 320 times more likely than the risk for an 18- to 29-

years old person.” Id. at 61,610 n.247.

   241.        The broad scope of workers, volunteers, and contractors covered by the CMS

vaccine mandate is arbitrary and capricious. The mandate applies to “any individual that . . . has

the potential to have contact with anyone at the site of care.” Id. at 61,571 (emphasis added). This


                                                 59
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 60 of 83 PageID #: 592




includes “staff that primarily provide services remotely via telework” but “occasionally encounter

fellow staff . . . who will themselves enter a health care facility.” Id. at 61,570. And the mandate

also covers a contracted “crew working on a construction project whose members use shared

facilities (restrooms, cafeteria, break rooms) during their breaks.” Id. at 61,571. The vast reach

of this mandate is far removed from the purported purpose of protecting patient safety.

   242.        CMS acted arbitrarily and capriciously by adopting a rigid one-size-fits-all mandate

that did not account for the advent of a new dominant variant against which the vaccines are

ineffective at stopping transmission—the very situation that now exists. When CMS issued the

mandate, it knew that (1) new SARS-CoV-2 variants would continue to arise, see, e.g., 86 Fed.

Reg. at 61,583 (discussing “the advent of the Delta variant and the potential for new variants”); id

at 61,584 (recognizing the “ongoing risk of new COVID-19 variants”); (2) “Delta may be

overtaken by other virus mutations,” id. at 61,609; (3) new COVID-19 variants could change the

trajectory of the pandemic, the risk of the virus, and the rationale for the mandate, see, e.g., id. at

61,559 (“While COVID-19 cases, hospitalizations, and deaths declined over the first 6 months of

2021, the emergence of the Delta variant reversed these trends.”); id. at 61,610 n.248 (noting that

“another variant of the vaccine might arise and create new risks or shifts in risks within the U.S.”);

(4) the COVID-19 vaccines are less effective against certain variants, see, e.g., id. at 61,565

(acknowledging that one of CMS’s relied-upon studies shows that “vaccine effectiveness point

estimates did decline over the course of the study as the Delta variant became predominant”); and

(5) there was a “possibility of new virus variants that reduce the effectiveness of currently

authorized and approved vaccines,” id. at 61,602. Despite knowing all this, CMS arbitrarily and

capriciously created a rule that does not even attempt to adjust to the pandemic-related changes

that it contemplated.


                                                  60
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 61 of 83 PageID #: 593




    243.        CMS acted arbitrarily and capriciously by creating a Delta-focused mandate to rule

in a world in which Delta is all but extinct and Omicron now reigns. Omicron presents a greatly

reduced risk of severe health outcomes compared to Delta, and the available COVID-19 vaccines

are ineffective in preventing transmission of Omicron. Yet the vaccine mandate continues to

irrationally demand mass vaccination that will provide no real-world benefit but will serve only to

drive more healthcare workers out of their jobs and reduce the healthcare services available in the

Plaintiff States.

    244.        CMS acted arbitrarily and capriciously by entirely failing to consider the option of

automatically terminating the mandate—or adjusting the mandate in some other way—once Delta

is overtaken by another variant against which the available COVID-19 vaccines are ineffective at

stopping transmission. Instead, CMS irrationally announced that it expects to retain the mandate

“as a permanent requirement for facilities” even though that rule was designed for a set of circum-

stances that no longer exist. 86 Fed. Reg. at 61,574.

    245.        CMS acted arbitrarily and capriciously by enacting a rule that entirely fails to

account for changes in pandemic-related circumstances, even though CMS knew that changes

would occur, and changes have been a mainstay of the pandemic. The inherent design and

structure of the mandate cannot account for the changed circumstances. Indeed, nothing in the

mandate accommodates changing circumstances. That oversight is inexcusable given the con-

stantly changing nature of the pandemic over the past two years. In this situation, such an inflex-

ible rule is arbitrary and capricious.

    246.        CMS acted arbitrarily and capriciously by entirely failing to consider whether its

vaccine mandate ought to incorporate some flexibility allowing States, healthcare facilities, and




                                                 61
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 62 of 83 PageID #: 594




individuals to adapt to rapidly evolving information concerning different SARS-CoV-2 variants,

vaccine effectiveness, and compliance problems.

   247.       CMS is acting arbitrarily and capriciously by continuing to enforce the vaccine

mandate now that Omicron is the prevailing SARS-CoV-2 variant. It is irrational to enforce the

mandate because Omicron poses a substantially reduced risk of severe health outcomes compared

to Delta and the available COVID-19 vaccines are ineffective in preventing transmission of

Omicron.

   248.       CMS is acting arbitrarily and capriciously by continuing to enforce the vaccine

mandate despite the changes in the legal and regulatory landscape of mandated vaccines. The

CMS mandate was initially designed to work in tandem with vaccine mandates on other types of

employers, including federal contractors and employers with over 100 employees. The collection

of these mandates would have limited the alternative choices of employment for healthcare

workers subject to the CMS vaccine mandate, further pressuring them to choose vaccination over

job loss. Now that these other mandates are enjoined, withdrawn, or otherwise unenforceable,

healthcare workers have choices. They are more likely and more freely able to leave employers

covered by the CMS mandate and seek employment elsewhere. That, of course, will further

worsen the staffing shortages in the healthcare sector. CMS did not consider the non-enforcement

of the other vaccine mandates. Rather, the agency was deeply reliant on this collective patchwork

of mandates. This change in circumstances further demonstrates the irrationality of the vaccine

mandate.

   249.       CMS and its parent agency HHS are acting arbitrarily and capriciously because

when the CMS vaccine mandate is applied together with the CDC’s updated guidance on isolation

for COVID-19-positive healthcare workers, the result is utterly irrational. See CDC, Interim


                                               62
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 63 of 83 PageID #: 595




Guidance for Managing Healthcare Personnel with SARS-CoV-2 Infection or Exposure to SARS-

CoV-2, supra. Healthcare facilities must fire a healthy COVID-19-negative unvaccinated em-

ployee but may return to work a COVID-19-positive employee. Such illogical and inconsistent

agency action is the epitome of arbitrary and capricious behavior. See Encino Motorcars, LLC v.

Navarro, 579 U.S. 211, 222 (2016) (“An unexplained inconsistency in agency policy is a reason

for holding an interpretation to be an arbitrary and capricious change from agency practice”)

(cleaned up).

   250.         CMS acted arbitrarily and capriciously by insisting that the need for its vaccine

mandate during the winter season required it to skip notice-and-comment rulemaking and

warranted an immediate stay from the Supreme, but once the Supreme Court issued the requested

stay, the agency delayed full enforcement of its mandate in the Plaintiff States until the middle of

April 2022—after the winter season is over.

   251.         For all these reasons, CMS’s promulgation and enforcement of the vaccine mandate

are arbitrary, capricious, and unlawful under the APA, and the IFC should be set aside.

           COUNT TWO – SUBSTANTIVE VIOLATION OF THE APA
  ACTION IN EXCESS OF AUTHORITY AND NOT IN ACCORDANCE WITH LAW

   252.         All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   253.         HHS, which includes CMS, is a federal agency subject to the requirements of the

APA.

   254.         CMS’s adoption and promulgation of the vaccine mandate through an IFC is a

major agency action that could not lawfully be conducted without compliance with the APA.

   255.         Under the APA, a court must “hold unlawful and set aside agency action” that is

“not in accordance with law” or “in excess of statutory . . . authority[] or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(A), (C).

                                                 63
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 64 of 83 PageID #: 596




   256.        The CMS vaccine mandate is contrary to law and in excess of statutory authority

because CMS’s statutory rulemaking power does not include the authority to impose a broad

vaccine mandate that Congress has not authorized.

   257.        None of the statutes that CMS cited in its IFC authorize the vaccine mandate. This

includes the two statutes that grant general rulemaking power to HHS—42 U.S.C. § 1302(a) and

42 U.S.C. § 1395hh(a)(1)—and the more than a dozen specific statutes discussed above that CMS

invoked in support of its mandate.

   258.        The CMS vaccine mandate is unprecedented—never before has it tried to use its

rulemaking authority to mandate vaccines. This confirms that CMS acted contrary to law and in

excess of statutory authority.

   259.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the Supreme Court’s major-questions doctrine. See Alabama Ass’n

of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (per curiam) (“We

expect Congress to speak clearly when authorizing an agency to exercise powers of vast economic

and political significance.”) (cleaned up); Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468

(2001) (Congress does not “hide elephants in mouseholes”).

   260.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the nondelegation doctrine. See Gundy v. United States, 139 S. Ct.

2116, 2123 (2019) (plurality op.) (Congress must provide an “intelligible principle to guide the

delegee’s use of discretion” in the exercise of delegated power).

   261.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the Spending Clause for the reasons explained below.




                                                64
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 65 of 83 PageID #: 597




   262.        Reading CMS’s statutory authority to include the power to mandate vaccines

throughout an industry violates the Tenth Amendment by trampling on the traditional authority of

the States to regulate public health within their borders, including the topic of compulsory

vaccination. See Alabama Ass’n of Realtors, 141 S. Ct. at 2489 (“[Supreme Court] precedents

require Congress to enact exceedingly clear language if it wishes to significantly alter the balance

between federal and state power and the power of the Government over private property.”).

   263.        The CMS vaccine mandate is also contrary to law and in excess of statutory

authority because it conflicts with 42 U.S.C. § 1395.

   264.        42 U.S.C. § 1395 provides that nothing in Title 18 of the Social Security Act “shall

be construed to authorize any Federal officer or employee to exercise any supervision or control

over the practice of medicine or the manner in which medical services are provided, or over the

selection, tenure, or compensation of any officer or employee of any institution, agency, or person

providing health services; or to exercise any supervision or control over the administration or

operation of any such institution, agency, or person.”

   265.        The CMS vaccine mandate violates 42 U.S.C. § 1395 because it authorizes federal

officials at CMS to exercise “supervision” and “control” over the “selection” and “tenure” of

employees (including state employees) and other persons “providing health services.” It does so

by prohibiting covered healthcare facilities from hiring unvaccinated employees and forcing those

facilities to terminate—and thus end the tenure of—unvaccinated employees.

   266.        The CMS vaccine mandate also violates that statute because it authorizes federal

officials at CMS to exercise “supervision” and “control” over the “administration” and “operation”

of institutions, agencies, and persons that provide health services (including state facilities and




                                                65
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 66 of 83 PageID #: 598




employees). It does so by dictating the hiring and firing policies of these institutions concerning

unvaccinated workers.

   267.        For all these reasons, CMS’s promulgation of the vaccine mandate is contrary to

law and in excess of statutory authority, and the IFC should be set aside.

              COUNT THREE – PROCEDURAL VIOLATION OF THE APA
                  ACTION WITHOUT NOTICE AND COMMENT

   268.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   269.        HHS, which includes CMS, is a federal agency subject to the requirements of the

APA.

   270.        CMS’s adoption and promulgation of the vaccine mandate through an IFC was a

major agency action that could not lawfully be conducted without compliance with the APA.

   271.        Under the APA, a court must “hold unlawful and set aside agency action” that is

“without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

   272.        The APA requires a federal agency to publish “notice of proposed rule making . . .

in the Federal Register” and then “give interested persons an opportunity to participate in the rule

making through submission of written data, views, or arguments.” 5 U.S.C. § 553(b)–(c).

   273.        These requirements “are not mere formalities” but rather “are basic to our system

of administrative law.” NRDC v. Nat’l Highway Traffic Safety Admin., 894 F.3d 95, 115 (2d Cir.

2018).

   274.        Prior to publishing the vaccine mandate, CMS did not publish notice of proposed

rulemaking in the Federal Register or give all interested members of the public an opportunity to

comment.

   275.        CMS’s decision to skip the notice-and-comment process was unlawful.              The

agency’s rushed enactment of its vaccine mandate aimed to deliver on the President’s mass vaccine

                                                66
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 67 of 83 PageID #: 599




demands rather than to respond to the pandemic by enacting measures based on—or capable of

adjusting to—emerging data and best practices.

   276.           The APA’s notice and comment requirements do not apply if “good cause”

establishes that they “are impracticable, unnecessary, or contrary to the public interest” under the

circumstances. 5 U.S.C. § 553(b)(B).

   277.           Despite attempts to do so, CMS failed to demonstrate that “good cause” excuses its

failure to conduct notice-and-comment rulemaking.

   278.           Central to CMS’s supposed “good cause” finding was the public health threat posed

by the Delta variant and the vaccines’ alleged effectiveness against that variant. See Biden, 142 S.

Ct. at 651 (“That good cause was, in short, the Secretary’s belief that any ‘further delay’ would

endanger patient health and safety given the spread of the Delta variant and the upcoming winter

season.”).

   279.           But Delta has been displaced by the Omicron variant. That new variant presents a

greatly reduced risk of severe health outcomes compared to Delta, and the available COVID-19

vaccines are ineffective in preventing transmission of Omicron. There is thus no good cause to

justify imposing the CMS vaccine mandate on an interim basis without notice and comment.

   280.           In addition, CMS insisted that the need for its vaccine mandate during the winter

season required it to skip notice-and-comment rulemaking and warranted an immediate stay from

the Supreme. Yet once the Supreme Court issued the requested stay, the agency delayed full

enforcement of its mandate in the Plaintiff States until the middle of April 2022—after the winter

season is over.

   281.           For all these reasons, CMS’s promulgation of the vaccine mandate violated APA

procedural requirements, and the IFC should be set aside.


                                                  67
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 68 of 83 PageID #: 600




  COUNT FOUR – PROCEDURAL VIOLATION OF THE SOCIAL SECURITY ACT
               ACTION WITHOUT NOTICE AND COMMENT

   282.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   283.        HHS, which includes CMS, is a subject to the procedural rulemaking requirements

in the Social Security Act.

   284.        Congress has specifically emphasized the importance of notice and comment when

considering changes to Medicare. The Supreme Court has explained that “Medicare touches the

lives of nearly all Americans.” Azar v. Allina Health Servs., 139 S. Ct. 1804, 1808 (2019). Even

“minor changes” to Medicare “can impact millions of people and billions of dollars in ways that

are not always easy for regulators to anticipate.” Id. at 1816. “Recognizing this reality,” id. at

1808, Congress doubled the standard 30-day comment period under the APA for any “substantive

legal standard” affecting the payment for services under Medicare. 42 U.S.C. §1395hh(a)(2),

(b)(1). Thus, under the Social Security Act, CMS “shall provide for notice of [a] proposed

regulation in the Federal Register and a period of not less than 60 days for public comment

thereon.” 42 U.S.C. § 1395hh(b)(1).

   285.        Prior to publishing the vaccine mandate, CMS did not publish notice of proposed

rulemaking in the Federal Register or give all interested members of the public an opportunity to

comment.

   286.        CMS’s decision to skip the notice-and-comment process was unlawful.            The

agency’s rushed enactment of its vaccine mandate aimed to deliver on the President’s mass vaccine

demands rather than to respond to the pandemic by enacting measures based on—or capable of

adjusting to—emerging data and best practices.

   287.        The Social Security Act’s notice and comment requirements, like the APA’s similar

requirements, do not apply if “good cause” establishes that they “are impracticable, unnecessary,

                                                 68
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 69 of 83 PageID #: 601




or contrary to the public interest” under the circumstances. 42 U.S.C. § 1395hh(b)(2)(C) (invoking

5 U.S.C. § 553(b)(B)).

   288.           Despite attempts to do so, CMS failed to demonstrate that “good cause” excuses its

failure to conduct notice-and-comment rulemaking.

   289.           Central to CMS’s supposed “good cause” finding was the public health threat posed

by the Delta variant and the vaccines’ alleged effectiveness against that variant. See Biden, 142 S.

Ct. at 651 (“That good cause was, in short, the Secretary’s belief that any ‘further delay’ would

endanger patient health and safety given the spread of the Delta variant and the upcoming winter

season.”).

   290.           But Delta has been displaced by the Omicron variant. That new variant presents a

greatly reduced risk of severe health outcomes compared to Delta, and the available COVID-19

vaccines are ineffective in preventing transmission of Omicron. There is thus no good cause to

justify imposing the CMS vaccine mandate on an interim basis without notice and comment.

   291.           In addition, CMS insisted that the need for its vaccine mandate during the winter

season required it to skip notice-and-comment rulemaking and warranted an immediate stay from

the Supreme. Yet once the Supreme Court issued the requested stay, the agency delayed full

enforcement of its mandate in the Plaintiff States until the middle of April 2022—after the winter

season is over.

   292.           For all these reasons, CMS’s promulgation of the vaccine mandate violated the

Social Security Act’s procedural requirements, and the IFC should be set aside.

                    COUNT FIVE – VIOLATION OF 42 U.S.C. § 1395z
             FAILURE TO CONSULT WITH APPROPRIATE STATE AGENCIES

   293.           All preceding Paragraphs of this Complaint are hereby incorporated by reference.




                                                  69
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 70 of 83 PageID #: 602




    294.        42 U.S.C. § 1395z provides that “the Secretary shall consult with appropriate State

agencies and recognized national listing or accrediting bodies, and may consult with appropriate

local agencies” when “carrying out his functions, relating to determination of conditions of

participation by providers of services, under subsections (e)(9), (f)(4), (j)(15), (o)(6), (cc)(2)(I),

and[] (dd)(2), and (mm)(1) of section 1395x of this title, or by ambulatory surgical centers under

section 1395k(a)(2)(F)(i) of this title.”

    295.        42 U.S.C. § 1395z applies to the CMS vaccine mandate because that mandate

purports to establish conditions of participation for hospitals under 42 U.S.C. § 1395x(e)(9), long-

term-care facilities (also known as skilled nursing facilities) under 42 U.S.C. § 1395x(j) and 42

U.S.C. § 1395i–3, Home Health Agencies (“HHAs”) under 42 U.S.C. § 1395x(o)(6),

Comprehensive Outpatient Rehabilitation Facilities (“CORFs”) under 42 U.S.C. § 1395x(cc)(2),

hospices under 42 U.S.C. § 1395x(dd)(2), Critical Access Hospitals (“CAHs”) under 42 U.S.C. §

1395x(mm)(1) and 42 U.S.C. § 1395i–4(e), and Ambulatory Surgical Centers (“ASCs”) under 42

U.S.C. § 1395k(a)(2)(F)(i).

    296.        CMS admitted that it did not comply with 42 U.S.C. § 1395z’s requirement that it

“consult with appropriate State agencies.” 86 Fed. Reg. at 61,567.

    297.        By failing to consult with appropriate States agencies before issuing the vaccine

mandate, CMS violated 42 U.S.C. § 1395z.

    298.        CMS’s “inten[t] to engage in consultations with appropriate State agencies . . .

following the issuance of th[e] rule,” 86 Fed. Reg. at 61,567, does not satisfy 42 U.S.C. § 1395z.

The statute plainly requires that the consultation with States occur before a rule is issued. The

statutory text demands the consultation when the Secretary is “carrying out his functions[] relating

to determination of conditions of participation by providers of services.” 42 U.S.C. § 1395z. The


                                                 70
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 71 of 83 PageID #: 603




Secretary, via CMS, already made his determination that the vaccine mandate should be a condi-

tion of participation by providers. It was at that time he was required to consult with the States.

Since he did not, the Secretary, acting through CMS, violated 42 U.S.C. § 1395z.

   299.        Even if CMS’s mandatory state consultation does not need to occur before the

issuance of the rule, it must happen during the post-issuance comment period. But that comment

period expired on January 4, 2022, and still the Secretary has not consulted with the Plaintiff States

as 42 U.S.C. § 1395z requires.

   300.        For all these reasons, CMS’s promulgation of the vaccine mandate violated 42

U.S.C. § 1395z, and the IFC should be set aside.

                    COUNT SIX – VIOLATION OF 42 U.S.C. § 1302
              FAILURE TO PREPARE REGULATORY IMPACT ANALYSIS

   301.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   302.        42 U.S.C. § 1302(b)(1) provides that “[w]henever the Secretary [of HHS] publishes

a general notice of proposed rulemaking for any rule or regulation proposed under subchapter

XVIII, subchapter XIX, or part B of [title IX of the Social Security Act] that may have a significant

impact on the operations of a substantial number of small rural hospitals, the Secretary shall

prepare and make available for public comment an initial regulatory impact analysis.”

   303.        42 U.S.C. § 1302(b)(1) applies to the CMS vaccine mandate because CMS’s cited

statutory authority for its vaccine mandate falls under Titles 18 and 19 of the Social Security Act

and because the mandate will have a significant impact on the operations of a substantial number

of small rural hospitals.

   304.        The CMS vaccine mandate threatens to exacerbate already devastating shortages in

healthcare staffing by forcing small rural hospitals to terminate their unvaccinated workers. That,

in turn, will compel those hospitals to close certain divisions, cancel certain services, or shutter

                                                 71
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 72 of 83 PageID #: 604




altogether. These dire consequences stretch across rural America, and their collective force

required CMS to prepare a regulatory impact analysis.

   305.        For all these reasons, CMS’s promulgation of the vaccine mandate violated 42

U.S.C. § 1302(b)(1), and the IFC should be set aside.

 COUNT SEVEN – UNCONSTITUTIONAL EXERCISE OF THE SPENDING POWER

   306.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   307.        The CMS vaccine mandate is an unconstitutional condition on the Plaintiff States’

receipt of federal funds.

   308.        “[I]f Congress intends to impose a condition on the grant of federal moneys, it must

do so unambiguously,” so “States [can] exercise their choice knowingly.” Pennhurst State Sch. &

Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

   309.        Nothing in federal law gave States clear notice that forcing their employees at state-

run hospitals to get a COVID-19 vaccination or forcing their state surveyors to enforce the CMS

vaccine mandate would be a condition of accepting federal funds. More generally, nothing in

federal law gave States clear notice that a vaccine mandate would be a condition of accepting

federal Medicaid or Medicare funds. Indeed, the States had no reason to expect that the statutes

cited by CMS to justify this IFC would authorize a federal vaccine mandate because the Supreme

Court has held for over a century that compulsory-vaccination policies lie within the States’ police

power and “do not ordinarily concern the national government.” Jacobson v. Massachusetts, 197

U.S. 11, 38 (1905).

   310.        “[C]onditions on federal funds must be related to the federal interest in particular

national projects or programs.” Van Wyhe v. Reisch, 581 F.3d 639, 650 (8th Cir. 2009).

   311.        The scope of the CMS vaccine mandate reaches far beyond a federal interest in

patient safety. Because the mandate applies to “any individual that . . . has the potential to have
                                                72
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 73 of 83 PageID #: 605




contact with anyone at the site of care,” it covers a contracted “crew working on a construction

project whose members use shared facilities (restrooms, cafeteria, break rooms) during their

breaks.” 86 Fed. Reg. at 61,571 (emphasis added). Moreover, the mandate also covers healthcare

providers, such as psychiatric residential treatment facilities for individual under 21 years of age,

that exclusively serve patients at very low risk from COVID-19. Id. at 61576. This vast reach of

the mandate is far removed from the supposed purpose of protecting patients whose healthcare

providers receive federal funding.

    312.        The CMS vaccine mandate goes far beyond the federal interest in patient health for

another reason. The mandate is one element of President Biden’s otherwise unsuccessful attempt

to force COVID-19 vaccination on Americans in every sector of the economy. By treating

Medicaid and Medicare as an “element of a comprehensive national plan” to “pressur[e] the States

to accept policy changes” related to COVID-19 vaccines, Defendants have attempted to “accom-

plish[] a shift in kind, not merely degree,” in the purpose of those federal programs. NFIB v.

Sebelius, 567 U.S. 519, 580, 583 (2012) (op. of Roberts, C.J.). That violates the Spending Clause.

    313.        The federal government cannot use the spending power to “commandeer[] a State’s

. . . administrative apparatus for federal purposes,” id. at 577, or “conscript state [agencies] into

the national bureaucratic army,” id. at 585.

    314.        The CMS vaccine mandate conscripts state agencies by forcing state-run hospitals

that fall under the mandate to either fire their unvaccinated employees or give up all their Medicare

and Medicaid funding. Because Plaintiff States must ensure sufficient funding to care for ailing

patients in need, this does not present States will a realistic choice.

    315.        The CMS vaccine mandate conscripts state agencies by forcing state surveyors to

enforce the mandate through verifying healthcare providers’ compliance with it. If States instruct


                                                  73
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 74 of 83 PageID #: 606




their surveyors not to enforce the CMS vaccine mandate, that will risk disqualifying Medicare-

and Medicaid-certified providers and suppliers in their States. Forcing States to administer the

CMS vaccine mandate or else jeopardize Medicare and Medicaid funds flowing into the States is

a gun to the head that compels States to participate against their will.

    316.        Additionally, because noncompliance with the CMS vaccine mandate threatens a

substantial portion of Plaintiff States’ budgets, it violates the Spending Clause by leaving those

States with no choice but to acquiesce. See id. at 581–82.

    317.        For all these reasons, the CMS vaccine mandate was adopted pursuant to an

unconstitutional exercise of authority and must be invalidated.

      COUNT EIGHT – VIOLATION OF ANTI-COMMANDEERING DOCTRINE

    318.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

    319.        The federal government lacks “the power to issue direct orders to the governments

of the States.” Murphy v. NCAA, 138 S. Ct. 1461, 1476 (2018). And the Constitution does not

tolerate the federal government dragooning state employees “into administering federal law.”

Printz v. United States, 521 U.S. 898, 928 (1997).

    320.        The CMS vaccine mandate compels States to administer that federal mandate by

forcing state-run healthcare facilities to either fire their unvaccinated employees or give up all their

Medicare and Medicaid funding. Because Plaintiff States must ensure sufficient funding to care

for ailing patients in need, this does not present States will a realistic choice.

    321.        The CMS vaccine mandate compels States, through their state surveyors, to enforce

the mandate by verifying healthcare providers’ compliance with it.             If States instruct their

surveyors not to enforce the CMS vaccine mandate, that will risk the disqualification of Medicare-

and Medicaid-certified providers and suppliers in their States. Forcing States to administer the



                                                   74
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 75 of 83 PageID #: 607




CMS vaccine mandate or else jeopardize Medicare and Medicaid funds flowing into the States is

a gun to the head that compels States to participate against their will.

   322.        The CMS vaccine mandate commandeers the Plaintiff States into enforcing federal

policy by threatening their Medicare and Medicaid funds. States are left with no real choice but

to allow their employees to be commandeered and used to enforce federal policy.

   323.        For all these reasons, the CMS vaccine mandate was adopted pursuant to an

unconstitutional exercise of authority and must be invalidated.

     COUNT NINE – VIOLATION OF TENTH AMENDMENT AND FEDERALISM

   324.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   325.        The structure of the U.S. Constitution and the text of the Tenth Amendment protect

federalism.

   326.        The powers not delegated by the Constitution to the federal government are

reserved to the States.

   327.        The CMS vaccine mandate seeks to exercise power far beyond what was delegated

to the federal government by constitutional mandate or congressional action.

   328.        Neither Article II of the U.S. Constitution nor any act of Congress authorizes CMS

to implement the vaccine mandate.

   329.        The power to impose vaccine mandates, to the extent that any such power exists, is

a power reserved to the States.

   330.        “[T]he police power of a state” includes, above all, the authority to adopt

regulations seeking to “protect the public health,” including the topic of mandatory vaccination.

Jacobson, 197 U.S. at 24–25. These matters “do not ordinarily concern the national government.”




                                                 75
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 76 of 83 PageID #: 608




Id. at 38; see also Hillsborough Cnty. v. Auto. Med. Labs., 471 U.S. 707, 719 (1985) (“[T]he

regulation of health and safety matters is primarily, and historically, a matter of local concern.”).

   331.        Reading CMS’s authority as including the power to mandate vaccines throughout

an entire industry violates the Tenth Amendment by trampling on the traditional authority of the

States to regulate public health within their borders, including the topic of compulsory vaccination.

Cf. Alabama Ass’n of Realtors, 141 S. Ct. at 2489 (“[Supreme Court] precedents require Congress

to enact exceedingly clear language if it wishes to significantly alter the balance between federal

and state power and the power of the Government over private property.”).

   332.        By interfering with the traditional balance of power between the States and the

federal government, and by acting pursuant to ultra vires federal action, CMS violated the Tenth

Amendment and structural principles of federalism.

   333.        For all these reasons, the CMS vaccine mandate was adopted pursuant to an

unconstitutional exercise of authority and must be invalidated.

        COUNT TEN – UNCONSTITUTIONAL DELEGATION OF AUTHORITY

   334.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   335.        “The powers not delegated to the United States by the Constitution, nor prohibited

by it to the States, are reserved to the States respectively, or to the people.” U.S. Const. amend.

X. The U.S. Constitution provides that “[a]ll legislative powers herein granted shall be vested in

a Congress of the United States,” not in the federal executive branch. U.S. Const. art. I, § 1.

   336.        “[A] statutory delegation is constitutional as long as Congress lays down by legisla-

tive act an intelligible principle to which the person or body authorized to exercise the delegated

authority is directed to conform.” Gundy, 139 S. Ct. at 2123 (plurality op.). Congress must offer

“specific restrictions” that “meaningfully constrain[]” the agency’s exercise of authority. Mistretta


                                                 76
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 77 of 83 PageID #: 609




v. United States, 488 U.S. 361, 372 (1989). Moreover, Congress must “speak clearly when

authorizing an agency to exercise powers of vast economic and political significance.” Alabama

Ass’n of Realtors, 141 S. Ct. at 2489.

   337.        As previously explained, the CMS vaccine mandate intrudes on the Plaintiff States’

historic and traditional authority to regulate health and safety, including the topic of mandatory

vaccination. The mandate implicates vast political considerations, perhaps the most contentious

political issue of the day, and will significantly harm the ability of the Plaintiff States to continue

to provide healthcare to their populations by jeopardizing the jobs of millions of healthcare

workers.

   338.        Even if CMS has statutory authority to promulgate the vaccine mandate, such a

delegation of authority would be unlawful. There is no intelligible principle to guide CMS, nor is

there any limit or direction for how it is to exercise such power.

   339.        If Defendants are right that the Social Security Act grants CMS authority to

mandate vaccination, both “the degree of agency discretion” and “the scope of the power

congressionally conferred” are limitless. Whitman, 531 U.S. at 475. Congress, however, lacks

authority to delegate “unfettered power” to an executive agency. Tiger Lily, LLC v. HUD, 5 F.4th

666, 672 (6th Cir. 2021).

   340.        Congress cannot delegate to agencies the “authority to decide major policy

questions”—such as whether all healthcare workers must be vaccinated—because doing so would

violate the nondelegation doctrine. Paul v. United States, 140 S. Ct. 342 (2019) (statement of

Justice Kavanaugh respecting the denial of certiorari); see also Tiger Lily, 5 F.4th at 672 (“[T]o

put ‘extra icing on a cake already frosted,’ the government’s interpretation of § 264(a) could raise




                                                  77
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 78 of 83 PageID #: 610




a nondelegation problem.”). In other words, under our Constitution, the answer to the question

who decides a major policy question cannot be an unelected federal bureaucrat.

   341.         In short, if Congress truly granted CMS the authority to issue the vaccine mandate

under the Social Security Act, the Act violates the nondelegation doctrine.

   342.         For all these reasons, the CMS vaccine mandate was adopted pursuant to an

unconstitutional exercise of authority and must be invalidated.

                COUNT ELEVEN – CHANGES IN CORE CIRCUMSTANCES

   343.         All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   344.         The Supreme Court has recognized that courts reviewing agency action must vacate

and remand that action to the agency when the “intervening facts” following that agency action

“so change[] the complexion of the case” that it would be inequitable for the action to remain in

effect. Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 172 (1962). Indeed, in some

cases “the equities of a situation militate in favor of returning a rule to an agency for further

consideration in light of new evidence.” Am. Optometric Ass’n v. FTC, 626 F.2d 896, 907 (D.C.

Cir. 1980).     This occurs when “there has been a change in circumstances, subsequent to

administrative decision and prior to court decision, that is not merely material but rises to the level

of a change in core circumstances, the kind of change that goes to the very heart of the case.” Id.

(cleaned up).

   345.         CMS adopted its vaccine mandate to address circumstances that existed when Delta

was the prevailing variant. But Delta has been displaced by Omicron. That new variant presents

a greatly reduced risk of severe health outcomes compared to Delta, and the available COVID-19

vaccines are ineffective in preventing transmission of Omicron. Given this significant change, and

the other changes in core circumstances alleged herein, it would be inequitable to allow the CMS


                                                  78
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 79 of 83 PageID #: 611




vaccine mandate to continue in effect, particularly considering all the harm that the mandate is

causing throughout the healthcare community and imposing on people needing healthcare in the

Plaintiff States.

    346.        Additionally, the legal and regulatory landscape has drastically changed since CMS

issued its vaccine mandate. That mandate was initially designed to work in tandem with vaccine

mandates on other types of employers. But those mandates have been stayed, enjoined, or

withdrawn. CMS did not consider the non-enforcement of the other vaccine mandates. Rather,

the agency was deeply reliant on this collective patchwork of mandates that no longer exists.

    347.        Under these drastically altered conditions, where the core circumstances that the

mandate addresses have changed, the Court should vacate the IFC and remand to CMS “for further

consideration in the light of the changed conditions.” Burlington Truck Lines, 371 U.S. at 172;

see also Am. Optometric Ass’n, 626 F.2d at 917 (“suspend[ing] the operation of the rule . . . until

such time as the Commission has completed its reconsideration”).

    348.        Moreover, to the extent that CMS has statutory authority to create rules that further

the health and safety of patients, it has an ongoing statutory obligation to ensure that its rules

further those interests. The existence of “conditions forging the . . . link between [CMS] regula-

tions” and patient health is “essential to their continuing operation.” Geller v. FCC, 610 F.2d 973,

980 (D.C. Cir. 1979). CMS “is statutorily bound to determine whether that linkage now exists.”

Id. “[T]he agency cannot sidestep a reexamination of particular regulations when abnormal

circumstances make that course imperative.” Id. at 979.

    349.        Now that the Omicron variant has displaced Delta and other core circumstances

have changed, CMS must reexamine its vaccine mandate to determine whether it still furthers

patient health and safety. As explained above, CMS’s adoption of the rule was driven by Delta,


                                                 79
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 80 of 83 PageID #: 612




and it makes no sense to continue the mandate now that Delta has effectively disappeared. As a

result, the mandate should be vacated, and the matter sent back to the agency for further

consideration.

                                    PRAYER FOR RELIEF

Wherefore, the Plaintiff States ask this Court to issue an order and judgment:

A. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate is arbitrary and

   capricious and unlawful under the APA;

B. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate is contrary to law and

   in excess of statutory authority under the APA;

C. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates APA

   procedural requirements;

D. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates the Social

   Security Act’s procedural requirements;

E. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates 42 U.S.C. §

   1395z because CMS failed to consult with appropriate state agencies;

F. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates 42 U.S.C. §

   1302(b)(1) because CMS failed to prepare a regulatory impact analysis;

G. Declaring, pursuant to 28 U.S.C. § 2201, that the CMS vaccine mandate violates the Spending

   Clause, the anti-commandeering doctrine, the Tenth Amendment, and the nondelegation

   doctrine;

H. Declaring, pursuant to 28 U.S.C. § 2201, that the change in core circumstances requires that

   the CMS vaccine mandate be vacated and remanded to the agency;

I. Setting aside the CMS vaccine mandate;


                                                80
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 81 of 83 PageID #: 613




J. Preliminarily and permanently enjoining Defendants from imposing the CMS vaccine

   mandate;

K. Preliminarily and permanently enjoining Defendants from imposing the CMS vaccine mandate

   without first following the required notice-and-comment procedures of the APA and the Social

   Security Act;

L. Tolling the CMS vaccine mandate’s compliance deadlines pending judicial review; and

M. Granting any and all other relief the Court deems just and proper.

Dated: February 23, 2022                    Respectfully submitted,


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                                               81
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 82 of 83 PageID #: 614




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                                            82
Case: 4:21-cv-01329-MTS Doc. #: 42 Filed: 02/23/22 Page: 83 of 83 PageID #: 615




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on February 23, 2022, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system and to be served on those

parties that have not appeared who will be served in accordance with the Federal Rules of Civil

Procedure by mail or other means agreed to by the party.

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                                                 83
